CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page:

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IN THE COURT OF COMN[ON PLEAS
HAMI_LTON COUNTY, OHIO

\...

CIVIL DIVISION

CBARLANN SHEPHERD
6044 Taylor Dr. #87
Burlington, Kentucky 41005

Plaintiff,

V.

ABUBAKAR ATIQ DURRA_NI, M.D.
(Served by Hague Convention)

And

JOURNEY LITE OF CINCINNATI, LLC-:

10475 READ]NG RD., SUITE 115
CI`NCINNATI, OH 45241

SERVE: CT COR_PORATION SYSTEM
1300 EAST NINTH STREET
CLEVELAND, OH 441 14

(Serve via Certiiied mail)

And

CENTER FOR ADVANCED SPINE
TECHNOLOGIES, INC.
(served by Hague Convention)

And

BARIATR]C PARTNERS OF TEXAS,

INC.
Serve:
CT CORPORATION

150 FAYETTEVILLE STREET
BOX 1011

RALEIGH, NC 27601

(Serve via Certified mail)

 

A-`1504455

Case No.

Judge:

COMPLAINT
& JU`RY DEMAND

(ALL NEW DR. DURRANI

CASES SHALL GO TO

JUDGE RUEHLMAN PER

HIS ORDER)

§ Rr-:GULAR lmle wAlvER

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CaSe: lilG-CV-OOZlO-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 2 Of 91 PAGE|D #Z 15

And

BARIATRIC PARTNERS OF TEXAS,
LLC

Serve:
MYA RA, LLC
150 FAYETTEVILLE STREET
BOX 1011
RALEIGH, NC 27601 :
: RECULAR MA|L WAIVER

And
ASCIRA PARTNERS, LLC

Serve:

JOHN W. TITUS

1600 DIVISlON STREET
SUITE 700

NASH\HLLE TN 37203-2271 z
» n
And ; EGU'“AR MML wavER

'I`RACE CURRY
10475 READING ROAD :
CINCINNATI, OH 45241 REGULAR MAH. WAIVER

And

ELLIOTT FEGELMAN
10475 READING ROAD '
CINCINNATI, OH 45241 REGULAR MML wAWER

And

JEFFREY A. BOGLE
4009 HILLSBORO P]KE

SUITE 209 REGL,LAR MM
NASHVILLE, TN 37215 z L WAWER

And

MICHAEL GOULD
4009 HILLSBORO PIKE
suer 209 -
`NASHVILLE, TN 37215 REGULAR MAn. vaER

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 3 Of 91 PAGE|D #Z 16

And

DAVID E. MCCLELLAN
10475 READING ROAD
SUITE l 15

CINCINNATI Ol-l, 45220

Defendants. ; REGULAR MAlL wAWER

 

l. At all times relevant, Plaintift`, (“Plaintifi”‘ or “Ms. Shepherd") was a resident of and
domiciled in the State of Kentucky.

2. At all times relevant, Defendant Dr. Abubakar Atiq Durranj (“Dr. Durrani") was
licensed to and did in fact practice medicine in the State of Ohio.

3. At all times relevant, Center for Advanced Spine Technologies, lnc. (“CAST”) was
licensed to and did in fact perform medical services in the state of Ol:u`o, and was and
is a corporation authorized to transact business in the state of Ohio.

4. At all times relevant Journey Lite of Cincinnati, LLC (“Journey Lite”) was a
Deleware corporation transacting business and performing and managing medical
services in the state of Ohio.

5. At all times relevant herein, Journey Lite held itself out tc the public, and

specifically to Plaintiffs, as a hospital providing competent and qualified medical
and nursing services, care and treatment by and through its physicians, physicians

in training, residents, nurses, agents, ostensible agents, servants and/or employees

.O“

Defendants, Bariatric Partners ofTean lnc., Bariatric ofTexas, LLC, Ascira
Partners, LLC, and Center for Advanced Spine Technclogies, lnc. and/or were also

owners and/ or managers of Jotu'ney Lite.

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 4 Of 91 PAGE|D #Z 17

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David McClellan is the Conh'oller/Administrator of Journey of Cincinnati, LLC and
involved with the management ofloumey Lite.

Dr. Durrani, Trace Curry, Elliott Fegelman and Bariatric Partners, lnc were owners
and directors of CAST.

The amount in controversy exceeds the jurisdictional threshold of this Court.

The subject matter of the Complaint arises out of medical treatment by the
Defendants in Hamilton County, Ohio. This Court is thus the proper venue to grant
the Plaintiff the relief she seeks

This case was previously set for trial and Plaintifl’s 41 (A) Voluntarily Disrnissed this
case and are now re~filing this case.

FACTUAL ALLEGATIONS OF PLAINTIFF

. Plaintiff sought treatment with Dr. Durrani in early 2013 for lower back pain.

Dr. Durrani recommended surgery to raise the vertebrae Where a disk had slipped.

On April 17, 2013 Dr. Dunrani performed L2-L3, L3-L4 lateral lumbar interbody
fusion With posterior spinal instrumentation, decompression and fusion with auto and
allografc surgery on Plaintiff at Joumey Lite.

Dr. Durrani performed surgery on Plaintifl` before trying any non-surgical options
Upon information and belief, Dr, Dur'rani implanted Infuse BMP-2 into the Plaintiff
during PlaintiH’s surgery. (see exhibit A)

Following surgery Plaintiff was admitted to St. Elizabeth Hospital, on April 22, 2013,
because ofweakness and a pain in her led leg so bad she couldn’t lift herself out of

bed.

Plaintiff was in the hospital and then a rehabilitation unit for approximately 12 days.

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 5 Of 91 PAGE|D #Z 18

19. The hospital staff spent a great deal of time trying to contact Dr. Durrani regarding
Plaintifl`s condition and then informed Plaintiff he had left the country,

20. Plaintift` now must walk with a cane and has constant excruciating pain in her left leg.

21. Plaintii"f last followed up with Dr, Durrani on or around M_ay of2013. Dr. Durrani
recommended another Surgery but Plaintiff declined based on the negative results
from the first surgery

22- Plaintift’s quality of life has completely diminished and she lives with constant pain.

23. In lanuary of 2014, Plaintiff was admitted to the hospital for severe depression
resulting from the constant pain she battles on a daily basis.

24. Plaintif'f can not sit, stand or walk for long periods oftime.

25. Plaintiff is not able to load the dishwasher, washing machine, or dryer, and requires
help completeing tasks such as vacuuming.

26. Since the surgery with Dr. Durrani, Plaintiff must use a bath chair when showering
and now must use a cane for walking

2?. Upon information and belief, Dr. Durrani used lnfuse!BMP-Z “off-label” and/or
Puregen without Ms. Shepherd's knowledge or consent, causing Ms. Shepherd harm.
(see exhibit A)

28. The use of BMP-2 increases a person’s chance of cancer by 3.5%.

29. Due to the unnecessary surgeries Dr. Durrani performed, Plaintiff has a 3.5%
increased chance of cancer because of the use of BMP-Z.

30. As a direct and proximate result of the use and implementation of Infuse/BMP-Z
Plaintiff has incurred a 3.5% increase in the risk of Cancer. As a result Plaintiff has an

increased fear of cancer.

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 6 Of 91 PAGE|D #Z 19

31 . Upon information and belief, the surgery performed by Dr. Durrani was medically
unnecessary and improperly performed

32. As a direct and proximate result of Ms. Shepherd’s surgery, Dr. Durrani’s negligence,
and the Defendant’s negligence, Ms. Shepherd has suffered harm.

33. Plaintiff did not become aware of lnfuse/Bl\JfP-Z and/or Puregen until she contacted
her undersigned counsel.

MORE SPECIFIC ALLEGATIONS BASED UPON DISCOVERY AND
DEPOSITION TESTIMONY

34. This information is to demonstrate the overall negligence and inappropriate

actions of Dr. Durrani and the hospitals he worked with and/or for and!or in an individual

capacity.

35. Krissy Probst was Dr. Durrani‘s professional and personal assistant handling

professional, academic, travel, surgery scheduling, his joumals, his Boards, his

credentialing, his personal affairs and his bills.

36. Kn`ssy Probst worked as Dr. Durrani’s assistant for three years at Children‘s

Hospital from 2006, 2007, and 2008.

37. Krissy Probst reported Dr. Durrani to Sandy Singleton, the Business Director at
Children’s for his having an affair with Jarm`e Moor, his physician assistant

38. Krissy Probst resigned in 2003 from Dr. Durrani and remained working for three
other surgeons in the Orthopedic Department.

39. Krissy Probst worked in the Orthopedic Department for eleven years from 2002-
2013. She retired in May, 2013.

40. K_rissy Probst confirmed Dr. Durrani claims being a Pn`nce, when he is not.

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 7 Of 91 PAGE|D #Z 20

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According to Kn'ssy Probst, Dr. Crawford, an icon in pediatric orthopedics treated Dr.
Durrani “like a son.”
According to Krissy Probst, Dr. Crawford, Chief of Orthopedics at Children’s

unconditionally supported Dr. Durrani no matter the issues and problems Dr. Durrani

faced.

Dr. Durrani’s patient care at Children’s I-lospital dropped off considerably after Jamie

_Moor became his physician assistant and they began their affair.

Dr. Durrani was the only orthopedic spine surgeon at Chjldren’s who would perform
a dangerous high volume of surgeries

At Children’s, Dr. Durrani would begin a surgery, leave and have fellows and
residents complete a surgery or do the full surgery While he was in his oflice with
Jarnie Moor, his physician assistant for four or five hours.

Children’s Board and administration knew about Dr. Durrani doing too many
surgeries and not properly doing the surgeries. They did nothing

Dr. Durrani argued to Children’s administration when they complained to him that he
made them money so Children’s tolerated him and allowed him to do what he
wanted.

Dr. Durrani, when told by Children’s that lamie Moor had to leave, told Children‘s
that he would leave too_

Dr. Agabagi would do one spine patient a day at Chi]dren’s because it takes normally

eight hours for a full fusion.

50. Dr. Durrani would schedule two to three spine surgeries a day at Children’s.

CaSe: 1216-CV-00210-,SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 8 Of 91 PAGE|D #Z 21

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Dr. Durrani would repeatedly have the Business Director, Sandy Singleton, or OR
Director allow him to add surgeries claiming they were emergencies when they were
not.

Dr. Durrani Would leave a spine surgery patient for four or five hours in the surgery
suite under the care of fellows or residents, unsupervised and sit in his office and
check on the surgery as he pleased.

Dr. Peter Stem did not like Dr. Durrani while Dr. Durrani was at Children’s because
he knew all about his patient safety risk issues Yet, Dr. Stem supported, aided and
abetted Dr. Durrani’s arrival at West Chester. It defies comprehension, but was for
one ofthe world’s oldest motives-greed of money.

There is also a Dr. Peter Sturm, an orthopedic at Children’s who also had no use for
Dr. Durrani.

Dr. Durrani chose his own codes for Children’s billing which he manipulated with the
full knowledge of Children’s Board and management

Dr. Durrani was dating and living with Beth Garrett, a nursing school drop-out, with
the full knowledge of his wife Shazia.

Dr. Durrani was close with David Rattigan until David Rattigan pursued Jamie Moor
and Dr. Durrani would not allow David Rattigan in the OR at Children’s for along
time.

Dr. Durrani, while claiming to have riches, does not. Dr. Durrani’s wife’s family
paid for Dr. Durrani’s education and it is her family with the significant wealth
Medtronics paid for Dr. Durrani’s trips and paid him $10,000 fees for speaking or

simply showing up at a spine conference

CaSe: 1216-CV-OO210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 9 Of 91 PAGE|D #Z 22

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Krissy Probst’s business director told her to save all Dr. Durrani related documents
and information and she did.
While doing research at Children’s, Dr. Durrani would misstate facts regarding his

research. Children’s knew he did this

. Dr. Durrani ended on such bad terms with Children’s Hospital he was not allowed on

the premises after his departure in December 2008, yet he performed a spine surgery
there in February 2009.
Eric J. Wall, MD was the Director of Surgical Services Division ofPediah'ic
Orthopedic Surgery when Dr. Durrani left Children’s.
Sandy Singleton, MBA was the Senior Business Director of Surgical Services
Division of Pediatric Orthopedic Surgery when Dr. Durrani left Chi]dren’s.
On information and belief, Dr. Durrani used his relationships with Children’s officials
to purge his Children’s tile of all patient safety and legal issues which had occurred as
part of his departure “deal" which Defendants hide with privilege
lNFUSEfBMP-Z

BACKGROUND lNFORMATION
The Deters Law Firm, P.S.C., represents approximately 500 Plaintiffs in medical
malpractice actions against a former Northem Kentucky/Cincinnati-area spine
surgeon named Abubakar Atiq Dr. Durrani (Dr. Durrani), his company, Center for
Advanced Spine Technologies, lnc. (CAST), and several area hospitals including, but
not limited to, West Chester Hospital (WCH), University of Cincinnati Health (UC

Health), Cincinnati Children’s Hospital l\/ledical Center (CCHMC), Christ Hospital,

CaSe: 1216-CV-OO2lO-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 10 Of 91 PAGE|D #Z 23

Deaconess Hospital, Good Samaritan Hospital and J'oumey Lite of Cincinnati, LLC
(Journey Lite) (collectively Hospitals).

67. Dr. Durrani performed unnecessary, fraudulent, dangerous, and ultimately damaging
surgeries on these Piaintiffs while working for and with these Hospitals.

68. The scheme and artifice to defraud that Dr. Durrani devised, executed, and attempted
to execute while working for and with the Hospitals included the following patterns
and practices;

a. Dr. Durrani persuaded the patient that surgery was the only option, when in
fact the patient did not need surgery.

b. Dr. Durrani told the patient that the medical situation was urgent and
required immediate surgery. He also falsely told the patient that he/she was
at risk of grave injuries without the surgery.

c, Dr. Durrani often told his cervical spine patients that they risked paralysis
or that his/her head would fall off if he/she was involved in a car accident,
ostensibly because there was almost nothing attaching the head to the
patient’s body.

d. Dr. Durrani often ordered imaging studies such as x-rays, CT scans, or
MRIS for patients but either did not read or ignored the resulting radiology
reports.

e. Dr. Durrani often provided his own exaggerated and dire reading of the
patient’s imaging study that was either inconsistent with or Was plainly
contradicted by the radiologist’s report At times, Dr. Durrani provided a

false reading of the imaging.

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CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 11 Of 91 PAGE|D #Z 24

f. Dr. Durrani often dictated that he had performed certain physical
examinations and procedures on patients that he did not actually perform.

g. Dr. Durrani often ordered a pain injection for a level of the spine that was
inconsistent with the pain stated by the patient or with that indicated by the
imaging. Dr. Durrani also scheduled patients for surgeries without leaming
of or waiting for the results of certain pain injections or related therapies.

h. Dr. Durrani often dictated his operative reports or other patient records
months after the actual treatment had occurred.

i. Dr. Durrani’s operative reports and treatment records contained false
statements about the patient’s diagnosis, the procedure performed, and the
instrumentation used in the procedure

j. When a patient experienced complications resulting from the surgery, Dr.
Durrani at times failed to inform the patient of, or misrepresented the nature
of, the complications

k. All of the above-mentioned actions were done with the knowledge,
cooperation, or intentional ignorance of the Hospitals because Dr. Durrani
was one of the biggest money/makers for the Hospitals.

69. In addition to the civil medical malpractice actions against Dr. Durrani, on August 7,
201 3, he was indicted by the F ederal Government for performing unnecessary
surgeries and for defrauding the Medicare and Medicaid programs Specitica]ly, the
ten-count complaint charged Dr. Durrani with health care fraud, in violation of 18
U.S.C. § 1347, and making false statements in health care matters, in violation of 18

U.S.C. § 103 5 . There was a subsequent superseding indictment adding over 30 counts.

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CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 12 Of 91 PAGE|D #Z 25

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Following these criminal indictments, in December of 2013 and prior to the first
Plaintifi’s trial in these actions, Dr. Durrani fled the United States and returned to
Pal<istan. He has not returned to the United States to face allegations of either
criminal or civil liability.
Arnong Dr. Durrani’s and the Hospitals’ professional failings was the use of a
synthetic bone-morphogenetic protein called BMP-Z, which was marketed under the
trade name “lnfuse.” Dr. Durrani used BMP~Z/Infuse in ways that were either not
approved by the federal Food and Drug Administration (FDA) or that were
specifically contraindicated as noted on the FDA-approved product labeling The
Defendants had full knowledge of this fact.
BMP-Z/lnfuse was, at the time of the surgeries in question, and currently still is
manufactured by a company called Medtronic, Inc. (Medtronic)_
Dr. Durrani predominantly used BMP-Z/lnhise on patients at WCH, which is owned
by UC Health.
lt is Plaintiffs’ position that this non-FDA-approved use of BMP-'£/hr;fuse was not
only negligent, and naudulent, but criminal based upon the manner in which it was
allowed to be used by Dr. Durrani at West ChesterJ all with the knowledge and ii.lll
support of the Defendants.

THE PLAYERS REGARDH\'G BMP-;
Dr. Durrani is a citizen of the Republic ofPakistan and was a permanent resident of the
United States who, from approximately 2005 to 2013, worked as a spine surgeon in
and around Cincinnati, Ohio, until he fled the United States to escape civil liability and

criminal prosecution

12

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 13 Of 91 PAGE|D #Z 26

76, Medtronic is an lrish corporation, with its principal executive office located in Dublin,
lreland, and its operational headquarters located in Minneapolis, Minnesota. Medtronic
is the world’s third largest medical device company and manufactures and markets
BMP~Q/lnfuse. Medtronic sales representatives were also present during the
experimental surgeries performed on Plaintiffs, who are clients of the Deters Law Firm.

77. CAST was a corporation organized under the laws of Ohio and had business and
medical offices in Florence, Kentucky and Evendale, Ohio. CAST was owned, in whole
or in part, by Dr. Durrani.

78. Bahler Medical, lnc. is a manufacturer of medical implants and is a corporation located
in the state othio.

79. David Rattigan is an Ohio resident and was and is a sales representative for Medtronic.
Further, he is affiliated with Bahler Medical, lnc., was involved in many of the
transactions involving BMP-Z, and was present for the experimental surgeries in which
BMP-2 was used.

SO. West Chester Hospital, LLC is a corporation organized under the laws of Ohio. lt
provides medical facilities and billing support to physicians, including Dr. Durrani, in
the state of Ohio. WCH is owned by UC Health.

Sl. UC Health is a private, non-profit corporation organized under the laws of Ohio. lt
provides medical facilities, management, administrative, ancillary, and billing support
to physicians, and it owns WCH.

82. CCHMC is a medical facility in Ohio where Dr. Durrani was an employee until

approximately 2008.

13

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16:Page: 14 Of 91 PAGE|D #Z 27

III. WHAT IS BlVIP-Z/INFUSE?
83. The full name of BMP-2 is “Recombinant Human Morphogenetic Protein-Z" (also
called thMP-Z). The following dennitions apply:
a. Rccombinant - Artiiicially created in a lab; _
b. Morphogenetic - Evolutionary development of an organism;
c. Protein - Essential for growth and repair of tissue.
84. Recombinant human protein (thMP-Z) is currently available for orthopedic usage in
the United States.
85. Medtronic manufactured marketed, sold, and distributed BMP-2 under the trade name
“lnfuse.”
86. BMP-2 has been shown to stimulate the production of bone.
87. lmplantation of BMP-2 in a collagen sponge induces new bone formation and can be

used for the treatment ofbony defects, delayed union, and non-union.

BMP-2 AS A BIOLOGIC

88. BMP-2 is not a device, but instead it is a biologic. See luly 2009 American Medical
Association Article and 2011 Stanford School of Medicine Aiticle.

89. According to the FDA, “[a] ‘biological product’ means a virus, therapeutic serum,
toxin._ antitoxin, vaccine, blood, blood component or derivative, allergenic product, or
analogous product, or arsphenamine or derivative of arsphenamine (or any other
trivalent organic arsenic compound), applicable to the prevention, treatment, or cure of
a disease or condition of human beings (Public Health Service
ActSec.35 l(i)l.”Available

http://www.fda.gov/I CECl/lnspections/IOM/ucm122535.htm.

14

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 15 Of 91 PAGE|D #Z 28

90. BMP-Z is a Bone-l\/lorphogenetic Protein that is used to promote bone creation and
remolding and falls under the definition of a biologic. Sae AMA article (“bone forming
properties”} and Stanford Article. BMP~?. differs from a medical device in that once
implanted, it can only be removed days after surgery lf a patient had a complication
due to BMP-Z and did not discover this complication until year after surgery, the patient
could not have BMP-2 removed to reduce the complication because BMP-2 is so
integrated into the patient’s bone.

91. A patient has a right to determine what happens to his or her body and the preservation
of that right requires that the patient be informed when a bone growth product, that
causes irreversible hann, is placed in his or her body.

WHEN IS lT USED?
92. Recombinant human BMPS are used in orthopedic applications such as spinal fusions,

non-unions, and oral surgery.

93. The bone graft contains two parts. The first is a solution of human bone growth protein
er morphogenetic protein-Z. This protein is found in the human body in small dosages
and is important for the healing and formation of bones. The protein is genetically
engineered to be utilized in the lnque Bone Graft product, and it is employed for the
stimulation of formation and growth in bones.

94, The second part of the bone graft is an absorbable collagen sponge.

95 . Both components of the Infuse Bone Grait structure are used to till the LT-Cage
Lumbar Tapered Fusion Device. This chamber is intended to restore the deteriorated

disc space to its original height

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CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 16 Of 91 PAGE|D #Z 29

96. FDA-approved use for the lniiise Bone Grat`t product is only for lower back surgery
using an anterior lumbar interbody nision (ALIF), a technique where the operation on
the spine is conducted through the abdomen.

97. In addition, the lnque Bone x Grait product must be used in conjunction with

Medtronic’s LT-Cage. Use ofBMP-Z without the LT-Cage is considered an “off-label”

USB.

CONTRAINDICATIONS OF USE

98. The FDA specifically warns against the use of lnfuse in the cervical spine, citing reports
of “life-threatening complications.”

99. Any use of lnque other than in lumbar spine surgeries with the LT-Cage is considered
“of"f-label” use

lOO. lnt`use should never be used on the skeletally immature patient, i.e., in patients less
than 18 years of age or those with no radiographic evidence of epiphyseal closure.

lOl. Infuse should never be used in the vicinity of a resected or extant tumor.

l('}Z: lnfuse should never be used in those patients known to have active infection at the

surgical site.

RISKS ASSOCMTED WITH OFF-LABEL USE

103. When used in an off-label manner, patients may experience problems with
pregnancy, including but not limited to: complications in fetal development; allergic
reactions to titanium, bovine type l collagen, or bone morphogenetic protein-Z;
infection; the creation or intensiiication of tumors; liver or kidney disease; lupus or
human immunodeticiency virus (HIV/AIDS); problems with radiation, chemotherapy,

or steroids if a patient is malignant; paralysis; bowel and/or bladder dysfunctions;

16

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 17 Of 91 PAGE|D #Z 30

sexual disorders, including sterilization and incompetence', respiratory failure',

excessive bleeding, and; death.

IV. THE REGULATORY PROCESS

104. The Medical Device Arnendments (MDA) to the federal Food, Drug, and Cosmetic
Act, 21 U.S.C. § 301 et seq., established two separate approval processes for medical
devices: Pre-Market Approval (PMA) and Pre-Market Notification.l

105. 'l`he FDA's PMA process is lengthy and involves extensive investigation by the
FDA. The PMA application requires manufacturers to submit extensive animal and
human data to establish their devices' safety and effectiveness 21 C.F.R. § 814.20.
Frequently, an experimental program under close FDA scrutiny must be successfully
completed before FDA approval can be obtained under this process. FDA regulations
also require PMA applicants to submit copies of all proposed labeling for the device. §
C.F.R. § 814.20(1;)§10). The FDA approves a PMA application only after extensive

review by the agency and an advisory committee composed of outside experts §

C.F.R. 314.40.2

106. l ln contrast, the FDA’s Pre~Market Notifrcation process is more abbreviated and
involves less FDA oversight This process requires applicants to submit descriptions
of their devices and other information necessary for the agency to determine whether
the devices are substantially equivalent Pre-Market Notiiication applicants must also

Submit their proposed labeling 21 C.F.R. § 807.87. lf the FDA determines that a device

 

1 Fender v. Medtrcnic, 887 F.Supp. 1326 fn 1 (E.D. Cal.1995].

2Ferra'er v. Medtronic. 887 F.Supp. 1326 fn l (E.D. Cal.l995).

17

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 18 Of 91 PAGE|D #Z 31

is substantially equivalent to a device that was on the market prior to the enactment of
the MDA in 1976, the applicant is free to market the device.

107. BMP-Z received PMA (PMA number POOOOSS) for the Infuse/BMP-Z Lumbar
Tapered Fusion Device, which PMA provided for limited use with specific

requirements for its use on individuals See Medtronic Paclcage lnsert.

SCOPE OF THE PMA AND PRODUCT LABELING

108. The PMA for BMP-2 provided that the product may only be used in patients with
the following characteristics:
d. Skeletally mature patient, AND
e. At levels L?.-Sl, AND
f. Confirmed degenerative disc disease (DDD), AND
g. Using only an open anterior or anterior laparoscopic approach, Al\ll:)3
h. Six months of non~operative treatment prior to treatment with the device,
AND
_ i. ln combination with the metallic LT-CAGE.4
See Medtronic Package lnsert, “INDICATIONS."
109. According to Medtronic’s package insert for BMP-Z/lnfuse as well as other
industry literature, the following risks are associated with the use of BMP-Z/Intbse:
A. Male Sterility

B. Caiicer

 

3 The anterior interbody fusion approach was developed because the risk of non-union (pseudarthrosis) is
significantly higher in posterior approaches The biggest risk factor for fusion surgery is non-union

4 lnstrumented fusions involve hardware and are more stable fusious with a shorter recovery time than non-
instrurnented fusions.

18

CaSe: 1216-CV-OO210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 19 Of 91 PAGE|D #Z 32

C. lncreased progression of cancer

D. Sut`focation of the cervical region

E. Bone fracture

F. Bowelfbladder problems

G. Loss of spinal mobility or function

H. Change in mental status

l. Damage to blood vessels and cardiovascular system compromise
]. Excessive bone mass blocking the ability to treat pain
K. Damage to internal organs and connective tissue
L. Death

M. Respiratory problems

N. Disassernbly and migration of components

O. Dural tears

P. Ectopic and exuberant bone formation

Q. Fetal development complications (birth defects)
R. Foreign body (allergic) reaction

S. Gastrointestinal complications

T. lncisional complications

U. lnfection

V. lnsufilation complications

W. Neurological system compromise

X, Non-union

Y. Delayed union

19

CaSe: 1216-CV-OO210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 20 Of 91 PAGE|D #Z 33

Z. Mal-union
AA.Change in curvature of spine
BB.Retrograde ejaculation
CC. Scars
DD. Tissue and nerve damage
EE. ltching
FF. Pain
GG.Hematoma
HI-l. Anaphylactic reaction
lI. Elevated erythrocyte sedimentation rate
l 10. Injury Percentages:
j. Ectopic Bone Growth-GB%
k. lnilarrunatory Neuritis-l 5%
1. Osteolysis/Subsidence-l3%
m. Acute Swelling-?%
n. Retrograde Ejaculation-Z%
o. 85% of time, BMP-2 implanted in off-label use
lll, Not a single one of these risks in the last two paragraphs were ever explained to a
single patient at Children’s I-Iospital by Dr. Durrani.
112. BNtP-Z was NO'l` approved by the FDA for use in the cervical and thoracic spine
and BMP-2 was NOT safe or approved for use in children less than 21 years of age.

These uses are considered “off-Iabel.”

20

CaSe: 1216-CV-OO210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 21 Of 91 PAGE|D #Z 34

“OFF-LABEL” USE

l 13. A use of a device is considered “off-label” if it is not approved under the Pre-Market
Approval process OR cleared for such use pursuant to 21 U.S.C. § 360c{i) {also known
as “the 5 lOk premarket notification process”).

l 14. lnque can be implanted in an off-label manner in three ways:

p. Approach/position: Any approach other than an anterior approach;
q. Product: Failure to use LT-Cage (or any cage); mixing thMP-Z with other
grading products like Allograft or Autografc;
r. Discs: Use on multiple levels or on a level outside of L2-Sl.
115. Dr. Durrani and the Hospitals in Which he performed surgeries repeatedly used

BMP-2 in these non-FDA-approved manners.

THE NON-COlVlPLIANCE WITH THE REGULATORY PROCESS

116. The PMA 000058 “Conditions of Approval” specifies the following condition:
“Before making any change affecting the safety or effectiveness of the device, submit
a PMA supplement for review and approval by the FDA [a] PMA supplement or
alternate submission shall comply with applicable requirements under 21 C.F.R.
314.39[.]”

117. 21 C.F.R. 814.39 requires a PMA supplement pursuant to subsection (a)(l) for new
indications of use of the device and pursuant to subsection (a)(o) for changes in

components

21

CaSe: 1216-CV-OO210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 22 0191 PAGE|D #Z 35

118. The PMA 000058 “Conditions of Approval” notes the post-marketing reporting
requirement imposed by 21 C.F.R. 814.84, particularly “ldentification of changes
described in 21 C.F.R. 814.39(a).” Medtronic did not comply with this requirement
relating to the intended uses and componentry.

1 19. The FDA can impose post-approval requirements in the PMA pursuant to 21 C.F.R.
814.82, and this fact results in the device being characterized as “restricted” pursuant
to 21 U.S.C. § 360j(e) for purposes of21 U.S.C. § 352(q). Section 352(q) states that
any restricted device that is distributed or offered for sale with false or misleading
advertising is “misbranded.” n

120. “lndications for use” is a necessary part of the PMA application and the
“lndications for use” are required to be limited by the application Any different use is
inconsistent with the PMA.

121. A device that fails to meet the requirements of the PMA or 21 C.F.R. 814 is
“adulterated” as defined by 21 U.S.C. § 351 (i).

122. 21 C.F.R. 801.6 defines a misleading statement related to a DIFFER.ENT device
contained in the label delivered with the device intended to be used will render the
device to be used misbranded

123. Medtronic did not apply for a PMA supplement, as required by the FDA generally
and PMA 000058 specifically, for the off-label uses, nor did it provide warnings of the
risks known about the off-label uses. All named Defendants in these cases knew about

the occurrences of off-label use.

22

CaSe: 1216-CV-OO210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 23 0191 PAGE|D #Z 36

124. _ The PMA requires an application prior to marketing for new indicated uses by

incorporating the federal requirements and explicitly reciting the text of 21 C.F.R.

814.39 and 814.84 and by specifically stating the range of indicated uses on the PMA.

V. MEDTRONIC '

125. ln or about 2001, Medtronic began preparing for the launch of two spinal fusion
products, PYRAM]D and lNFUSE (BMP-Z), which it projected would enjoy broad
application with spinal surgeons and their patients on a nationwide basis.

126. Medtronic anticipated that both products would initially be limited in application

127. Motivated by greed and a desire to gain competitive advantage in the marketplace,
Medtronic began a course of conduct designed to broaden the application of both
products by end-users. The course of conduct involved fraud, false statements, material
misrepresentation, and deceit for the purpose of broadening the sales of these products
beyond that which the usual acceptance within the scientific community or regulatory
approval would otherwise allow.

128. On or after July 2,_2002, Medtronic received notification that its Pre-Market
Approval application for its BMP-?./lnfuse bone graft products had been approved by
the FDA. l-lowever, such approval was limited to the application of the device from the
L4 through Sl levels Further, the approval mandated the conduct of post-approval
studies to evaluate the long-term performance of the BMP-2 bone grali and to study
the potential side effects and complications such as the promotion of rumors by the
bone moiphogerietic protein component of BMP-Z. Othcr studies were conducted as
well. See “Allegations against l\/ledtronic in the Unsealed Mississippi False Claims

Case.”

23

CaSe: 1216-CV-OOZlO-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 24 Of 91 PAGE|D #Z 37

129. Medtronic engaged in a fraudulent course of conduct designed to maximize its
revenues from BMP-Q, regardless of whether it would eventually be allowed to remain
on the market

130. One of the physicians Medtronic co-opted into its fraudulent scheme was a Thomas
A. Zdeblick, M.D. Dr. Zdeblick was an orthopedic surgeon whose invention, the LT-
Cage, was the only approved device to act as the delivery vehicle for BMP-2 into the
body.

131. Dr. Zdeb]ick enjoyed a position within the scientific community as a Key Opinion
Leader, and he was both a practicing orthopedic surgeon and professor at the University
of Wisconsin.

132. ln one of Dr. Zdeblick’s first attempts to tout his LT-Cage and thMP-Z, which
would become the active ingredient in the ultimate lnfuse/BMP-Z product, he
encountered some drawbacks to his goal of promoting his and Medironic’s products,
which arose from the policy of certain industry journals, including the journal Spine,
which followed industry standards before printing peer-reviewed material. See article
in the journal Spine, published in 2000.

133. Not only were the drawbacks related to industry publishing standards, but the
National Consumer Health Inforrnation and Health Prornotion Act of 1976 enacted
certain provisions at 42 U.S.C. § ?>OOu, et seq., whereby the Federal Government had
entered the iield of medical research publication Such standards promulgated by the
Secretary of the predecessor to the U.S. Department of Health and Hurnan Services
required that applications for grants and contracts must be subject to “appropriate peer

review.“ See 42 U.S.C. § 3DOu-l.

24

CaSe: 1216-CV-OO210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 25 Of 91 PAGE|D #Z 38

134. The drawbacks encountered with the peer-reviewed Spine article were as follows:
a. Attribution that the study was “sponsored by Medtronic Sofamor Danek,
Inc.;”
b. The study was conducted under FDA regulations, and was ‘t. . designed as
a prospective, multicenter, nonblinded, randomized, and controlled pilot
study;" and
c. lt was accompanied by a cautionary comment, or Point of View, which
minimized the exuberance and import of the article.

135. ln the article, BMP-2 was touted by Zdeblick and the co-authors as the potential
realization of a dream of Dr. Marshall Urist, a revered pioneer in the industry and
discoverer of BMP, where it closed with the following: “...it is encouraging to note
that Marshall Urist’s seminal observation made more than 34 years ago may finally
come to clinical fruition.“

136. ln the Poiut ofView, a Dr. John O’Brien ofLondon questioned whether there could
be long-term problems associated with the product He treated Zdeblick’s study with
caution and pointed out that simple plaster of Paris has achieved the same or similar
results more than 50 years prior. He posited t.hat, “[p]erhaps vascularization. . .fixation
procedures are as important as the biochemical composition of the ‘filler.”’

137. Vascularization is achieved through removal of the disc material between two
vertebral bodies and then the scraping of the surfaces of the vertebral bodies in a fusion

procedure; fixation is the process of securing the motion segment through medical

hardware ln other, if the alternative proposed by Dr. O’Brien proved to achieve

25

CaSe: 1216-CV-OO210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 26 Of 91 PAGE|D #Z 39

equivalent or better results, Zdeblick and Medtronic’s IniiisefBMP-Z products would

be useless and unnecessary

138. Certain efforts would follow in an attempt to alleviate the drawbacks encountered
with the 2000 sz'ne journal artic]e.

139. ln 2002, Dr. Zdeblick was installed as the sole editor-in-chief of a medical journal
known prior to his installation as the Jow'nal of Spinal Dz'sorders. Prior to his
installation, the journal enjoyed a fourteen year history under the co-editorship of Dr.
Dan Spangler and Dr. Tom Ducker. Once installed, Dr. Zdeblick successfully
supplanted Drs. Dan Spengler and Tom Ducker and became the sole editor-in-chief`, a
position which would enable him to have greater control and would aid his participation
in the fraudulent scheme.

140. During this same time period, Dr. Zdeblick also enjoyed a position on the associate
editorial board of the medical journal Spine, the leading publication covering all
disciplines relating to the spine,

l41. ln one of Dr. Zdeblick’s actions as editor-in-chief, he set about re-purposing the
journal in a way that would aid him in the furtherance of the fraudulent scheme through
the streamlining of the publication process.

142. ln furtherance of the fraudulent scheme, Dr. Zdebliclc re-purposed the journal and
renamed it the Jonrnal ofSpinal Dz`sorders and Techm`gues (JSDT), announcing that
the new journal was “entering a new partnership with Spine.” As part of this
partnership, Spi)ze would “continue to function as a broad-based scientific journal“
tailored to both clinicians and scientists However, the Journal ofSpinal Disorders and

Techm`ques would be directed solely to physicians in clinical practice

26

CaSe: 1216-CV-OO210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 27 Of 91 PAGE|D #Z 40

143. Dr. Zdeblick’s stated goal was “to provide a forum for up-to~date techniques...”,
and in furtherance of that goal, Dr. Zdeblick announced that his journal would publish
Class ll or better clinical articles but would “occasionally accept cutting edge articles
with less than one year follow-up.” To justify this streamlined process, Dr. Zdeblick
claimed as his goal the ability of his journal “to keep up with the fast pace of progress
in the treatment of spinal patients.”

144. Arm-in-arm with Medtronic and others, Dr. Zdeblicl< would in Short order abuse
his position of trust as the editor~in-chief of J SDT.

145. In the October 2002 edition, JSDT published an article entitled, “Anterior Lumbar
lnterbody Fusion using thl\/[P-Q with Tapered lnterbody Cages.” This article was co-
authored by, among others, Curtis A. Dickman, M.D., who was a developer of
Medtronic’s PYRAMID plate and who has been paid significant sums by Medtronic
through royalty agreementsJ consulting agreements, and education training and
speaking agreements

146. In addition to his interest in the PYRAMID plate, Dr. Dicklnan had assisted
Medtronic in the approval process for lnfuse/BMP-?_. As part of the pre-approval
hearing process, Dr. Dickman and his Barrow Neurological Associates Group of
Phoenix, Arizona had submitted a letter to the meeting of the FDA’s Orthopedics and
Rehabilitation Devices Advisory Panel, which met on January lO, 2002. ln that letter,
Dr. Diclcman represented that “approval of BMP would provide a significant advance
for patient outcome and satisfaction following spinal ii.lsion.”

147. In the October 2002 issue ofJSDT touting the benefits of Infuse/BMP-?., Zdeblick

and others failed to disclose their financial ties to Medtronic, though industry standards

27

CaSe: 1216-CV-OO210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 28 Of 91 PAGE|D #Z 41

require such acknowledgement Not only did Dr. Zdeblick fail to disclose that he
profited from each and every surgery which lnfusefBMP-Z was used through rights in
the exclusive delivery vehicle, his LT-Cage, but no reference whatsoever to their
financial ties to Medtronic was made either by Dr. Zdeblick or Dr. Dickman.

148. For years, the recognized gold standard for spinal bone grafls has been the use of
autogenous bone, or bone harvested from the patient’s own iliac crest, or hip bone.
Medtronic designed to have its InfusefBMP-2 product supplant autogenous bone as the
gold standard in the medical community, and utilized false statements, a fraudulent
enterprise and the support of F ederal funds to do so.

149. As part and parcel of Medtroru`c’s fraudulent scheme, the October 2002 study was
published in Dr. Zdeblick’s journal three months after Medtronic received FDA
approval for Infuse. As the article shows, it was actually received on March 28, 2002
or after Dr. Zdeblick had accomplished installment as the editor-in-chief, and was
accepted by Dr. Zdeblicl<’s journal for publication non July 30, 2002.

150. At the same time Dr. Zdeblick’s journal was publishing the initial article on Infuse,
Dr. Zdeblick was already iinalizing and preparing for subsequent publication a follow-
up article to tour lnque potentially as the new gold standard A second article, co-
authored by Dr. Zdeblick and two other co-authors of the original article, was entitled
“Is lnfiise Bone Graft Superior to Autograf"t Bone‘? An Integrated Analysis of Clinical
Trials using the LT-Cage Lumbar Tapered Fusion Device.”

lSl. This second article was published in Vol. 2 of 2003 and once again, there was no

mention of Dr. Zdeblick’s financial ties to l\fledtronic.

28

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 29 Of 91 PAGE|D #Z 42

152. This second article would serve as the second covert advertisement for the Inii.ise
product, and the article states that “the purpose of our analysis was to investigate the
potential statistical superiority of Int`use bone graft to autograft. . .”

153. This second article went on to announce the July 2002 FDA approval ofthMP-2.

154. This article included as an “acknowledgment” an expression of gratitude to the
physicians “who provided patients for this study and to the clinic research group at
Medtronic Sofarnor Danek for their help in data collection and statistical analyses.”
However, the article still failed to advise the medical community that some or all of the
authors reaching these conclusions touted as monumental had direct financial interests
tied to those conclusions

155. Rather, the failure to report these clear cont]icts of interest on the part of those
holding positions of trust both within the medical community and over patients was
part of Medtronic’s fraudulent enterprise HoweverJ unchecked by appropriate peer
review, Medt:ronic was able to systematically accomplish their goals.

156. ln its 2003 Annual Report, and without recognizing that Zdeblick was being paid
by Medtronic, Medtronic cited to Zdeblick’s 2003 as reporting that lntuse “...may
become the new gold standard in spinal fusion surgery.”

157. By its 2006 Annual Report, if not earlier, Medtronic had removed all doubt,
declaring that after its introduction in 2002, “lnfuse Bone Grat`t quickly became the
gold standard for certain types of lumbar fusion.”

158. Medtronic’s fraudulent scheme was successth and resulted in a revenue stream

ranging from 700 to 900 million dollars per year.

29

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 30 Of 91 PAGE|D #Z 43

159. It has been reported that around the same time these stories about lnfuse were
published, editors at the Spine Journal began receiving complaints Jfrom doctors around
the country who were pointing out contradictions between papers published by doctors
with linancial ties to Medtronic and other data involving In_'['i.lse complications.’ _See
Jow':zal Sentz`nel article of .l olin Pauber.

160. Through the use of these sham consulting, royalty and educationftraining
agreements with its physician agents in this fraudulent enterprise, Medtronic has reaped
windfalls in the billions of dollars Medtronic has used this fraudulent enterprise and
civil conspiracy to drive its Vast proiits and enhance its market position beyond that
which it would have realized without engaging willfully, knowingly and potentially
deliberate, conscious, or reckless indifference in the fraudulent enterprise and
fraudulent concealment See Mississippi case.

l6l. Dei`endants had hill knowledge of all these facts pertaining to Medt:ronics.

`VI. FDA PUBLIC HEALTH NOTIFICATION

162. On luly l, 2008 the FDA issued a Public Health Notification entitled “Life-
Threatening Coniplications Associated with Recornbinant Human Bone
Morphogenetic Protein in Cervical Spine Fusion.”

163. This notification was sent to health care practitioners all across the United States
warning of the complications associated with BMP-Z, speciiically when used in the
cervical spine,

164. In the notification the FDA stated they received at least 38 reports of complications

during the prior four years with the use of BMP-Z in cervical spine fusions.

30

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 31 Of 91 PAGE|D #Z 44

165. The complications were associated with swelling of the neck and throat areas,
which resulted in compression of the airway and/or neurological structures in the neck.

166. Sorne reports describe difficulty swallowing, breathing or speaking and severe
dysphagia following cervical spine hision using BMP-2 products _had also been
reported

167. The notification further stated that, “since the safety and effectiveness of thMP
for treatment of cervical spine conditions has not been demonstrated and in light of the
serious adverse events described above, FDA recommends that practitioners either use
approved altemative treatments or consider enrolling as investigators in approved
clinical studies

168. The Notitication further emphasized the importance of fully informing patients of
these potential risks and said that patients treated with BMP-Z in the cervical spine
should know:

s. The signs and symptoms of airway complications, including difficulty
breathing or swallowing, or swelling of the neck, tongue, mouth, throat and
shoulders or upper chest area

t. That they need to seek medical attention immediately at the first sign of an
airway complication

u. That they need to be especially watchful 2-14 days after the procedure when
airway complications are more likely to occur

v. thMP-2 (contained in Infuse Bone Graft) has received pre-market
approval for fusion of the lumbar spine in skeletally mature patients with

degenerative disc disease at one level from L2-Sl and for healing of acute,

31

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 32 Of 91 PAGE|D #Z 45

open tibial shaft dactures stabilized with an IM nail and treated Within 14
days of the initial injury

169. Additionally, BMP is not approved in any manner for use in patients who are
skeletally immature (<18 years of age) or pregnant

170. Dr. Durrani and the Hospitals ignored ALL of these wamings and used BMP-2 in
cervical spine surgeries, children, and those with known compromising factors such as
osteoporosis, smoking, and diabetes

171. Furthennore, the Notitication stated that the FDA requires hospitals and other user
facilities to report deaths and serious injuries associated with the use of medical
devices.

172. The Hospitals that allowed Dr. Durrani to use BMP-2 in their facilities failed to
report any complications resulting from his use of BMP-Z.

VII. SENATE FINANCE COMMITTEE REPORT

173. Medtronic’s actions did not go unnoticed, and in June of 2011 the Senate Finance
Cornmittee began an investigation into the fraudulent actions ofMedtronic.

174. Medb‘onic produced more than 5,000 documents pertaining to 13 different studies
of Blle-?. for the investigation

1?5. On October 25, 2012, Senate Finance Commit_tee Chairman Max Bancus (D-Mont.)
and Senior member Chuck Grassley (R-lowa) released the results of their 16-month
investigation into Medtronic, which revealed questionable ties between the medical
technology company and the physician consultants tasl<.ed with testing and reviewing

Medtronic products

32

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 33 Of 91 PAGE|D #Z 46

176. The investigation revealed that Medtronic employees collaborated with physician
authors to edit and write segments of published studies on BMP-Z/lnfuse without
publicly disclosing this collaboration

177. These naudulently-produced studies may have inaccurately represented BMP-Z’s
risks and may have placed added weight on the side effects of alternative treatments

178. The Senate investigation further found that Medtronic also maintained significant,
previously undisclosed financial ties with physicians who authored studies about BMP-
2, making $210 million in payments to physicians over a 15-year period

179. Senator Baucus stated, “Medtronic’s actions violate the trust patients have in their
medical care. Medical journal articles should convey an accurate picture of the risks
and benefits of drugs and medical devices, but patients are at serious risk when
companies distort the facts the way Medtronic has. Patients everywhere will be better
served by a more open, honest system without this kind of collusion.”

180. Senator Grassley stated, "’The findings also should prompt medical journals to take
a very proactivc approach to accounting for the content of the articles along with the
authorship of the articles and the studies they feature. These publications are prestigious
and influential, and their standing rests on rigorous science and objectivity. It‘s in the
interest of these journals to take action, and the public will benefit from more
transparency and accountability on their part.”

lBl, Major findings of the investigation include: 7

en Medtronic was involved in drafting, editing, and shaping the content cf
medical journal articles authored by its physician consultants who received

significant amounts of money through royalties and consulting fees from

33

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 34 Of 91 PAGE|D #Z 47

Medtronic. The company’s role in authoring or substantially editing these
articles was not disclosed in the published articles Medical journals should
ensure that any industry role in drafting articles or contributions to authors
is fully discloses

b. Medtronic paid a total of approximately $2l 0 million to physician authors
of Medtronic-sponsored studies from Novernber 1996 through December
2010 for consulting, royalty and other arrangements

c. An e-mail exchange shows that a Medtronic employee recommended
against publishing a complete list of adverse events, or side effects, possibly
associated with BMP-Q/Int`i.rse in a 2005 Journa[ afBone and Jor'nt Szu'gery
article

d. Medtronic officials inserted language into studies that promoted BMP-Z as
a better technique than an alternative by emphasizing the pain associated
with the alternative

e. Documents indicate that Medtronic prepared one expert’s remarks to the
FDA advisory panel meeting prior to BMP-?. being approved At the time,
the expert Was a private physician but was later hired to be a vice president
at Medtronic in 2007.

f. Medtrorric documents show the company successfully attempted to adopt
weaker safety rules for a clinical trial studying BMP-Z in the cervical spine
that would have allowed the company to continue the trial in the event that

patients experienced severe swelling in the neck.

34

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 35 Of 91 PAGE|D #Z 48

VIII. YODA STUDY

182. In response to the various controversies surrounding BMP-2/Infuse, including a
June 2011 article in the journal sz`ne, the Yale University Open Data Access (YODA)
team reached an agreement for Medtronic to provide full individual participant data

from all their trials of thMP»Z and allow unrestricted independent reaanalysis of this

data.

183. The YODA study involved research teams at two universities - the University of
York and the Oregon Health and Scierrce University

184. The review focused exclusively on the use of thMP-2 in patients undergoing
spinal fusion surgery for treatment of degenerative disc disease, spondylolisthesis, or
any other relevant spinal condition

185. The three main objectives of the study .were: l) to examine the potential benefits of
BMP-Z, 2) to examine the potential harms of BMP-Z, and 3) to assess the reliability of
the published evidence base. d

186. Medtronic submitted data hom 17 studies, including 12 randomized controlled
trials (RCTS).

187. ln total, the YODA study analyzed the data from 1,409 participants

188. Though the results showed moderate success with hisions as a result of BMP-Z, the
study found that BMP-Z results in several different complications including: arthritis,
implant-related events, renograde ejaculation, wound complications, and neurological,

urogenital, and vascular events.

35

CaSe: 1216-CV-0021_O-SSB-KLL DOC #Z 1-3 Filed: 01/06/1_6 Page: 36 Of 91 PAGE|D #Z 49

189. In regard to the alleged tampering with the peer~reviewed studies by Medtronic, the
- YODA study found that only two out of twenty peer-reviewed journal publications
reported a comprehensive list of all adverse events that occurred during the studies

190. Furtherrnore, the way in which adverse event data was presented in the literature
was inconsistent, and the rationale for presenting some adverse events but not others
was rarely clear.

191. The study concluded that for the period up to 24 months after surgery, treatment
with BMP-.'Z increases the probability of successiiil fusion (according to Medtronic
deiinitions and reports, which the study noted “were subjective so it is not possible to
confirm whether reported successful fusions truly were successful” see YODA Study,
p. 35) but this does not translate to clinically meaningful benefits in pain reduction,
function, or quality of life. The small benefits in these outcomes observed from six
months onward come at the expense of more pain in the immediate post-operative
period and a possible increased risk of cancer.

192. Even more relevant to the case against Dr. Durrani and the Hospitals is the YODA
study’s conclusion that, “[i]t is very important that these findings are expressed clearly
and discussed with patients so that they can make informed choices about the type of
surgery they Would prefer.” Id`.

193. The University of Oregon Study determined that Infuse/BMP-.'Z is not better than
Autograi°c, while the University of York study determined that Infuse/BMP-Z offers
only a slight and not statistically signincant advantage over Autograt`t.

194. The YODA study concluded that Medtronic “misrepresented the effectiveness and

harms through selective reporting, duplicate publication, and underreporting.”

36

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 37 Of 91 PAGE|D #Z 50

195. Adverse event categories such as heterotopic bone forrnation, osteolysis, and
radiculitis were not included in participant databases or internal reports; therefore, the
safety profile Was not fully assessed

1_96. The YODA study further concluded that Medtronic was involved in drafting,
editing, and shaping the content of medical journal articles on Infuse/BMP-Z authored
by its physician consultants who received significant amounts of money through
royalties and consulting fees from Medtronic. The company’s significant role in
authoring or substantively editing these articles was not disclosed in the published
articles

197. Medtronic paid a total of approximately 3210 million to the physician authors of
Medtronic-sponsored studies on lniilse from November 1996 through 2010 for
consulting, royalty and other arrangements

198. An entail exchange showed that a Medtronic employee recommended against
publishing a complete list of adverse events or side effects possibly associated with
lnque in a 2005 Jorrr)ral of Bone and Jor'nt Surger article

199. Medtronic officials inserted language into studies that promoted lnfuse as a better
technique than an alternative procedure by overemphasizing the pain associated with
the alternative procedure

200_ Medtronic’s actions violated the trust patients have in their medical care. Medical
journal articles should convey an accurate picture of the risks and beneiits of drugs and
medical devices, but patients are at serious risk when companies distort the facts the

way Medtronic has. See United States Senate Comrnittee on Finance, October 2012.

37

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 38 Of 91 PAGE|D #Z 51

201 . Infuse was intended for a single level anterior lumbar interbody fusion performed
with all three components in a specific spinal region. The three components are a
tapered metallic spinal fusion cage (NOT PLASTIC), a recombinant human (BMP)
bone Morphogenetic Protein, anda canier/scaHold for the`BMP and resulting bone.
The Infuse product is inserted into the LT-CAGE Lumbar tapered Fusion Device
component to form the complete Inf`use Bone Grafr/LT-Cage Lumbar Tapered Fusion
Devi ce. These components must be used as a system. The lnfuse Bone Graft component
must not be uses without the LT-Cage Lumbar Tapered Fusion Device component

202. BMP-2 is not supposed to be used in minors

203. BMP~2 is not supposed to be used with smokers and diabetics because of vascular
slowing

204. BMP-Z should not be used with women in child bearing years

205. BMP-2 is contraindicated for patients with a known hypersensitivity to thMl’-.'Z
and should not be used in the vicinity of a resected or extant tumor, in patients with
active malignancy, or in patients undergoing treatment for a malignancy.

[X. DR. DURRANI AND BMP-2

206. Despite all of these warning signs, Dr. Durrani, with the full knowledge of the
Defendants, continued to use BMP-2 in ways not approved by the FDA, or in an “off-
label” manner.

207. As early as 2007, Dr. Durrani and UC Health knew there were issues with Bl\/IP-2
because insurance companies such as Anthem were refusing to pay for Bl\![P-?..

208. Medtronic provided in writing to Dr. Durrani and CAST the approved uses for

lnfuse/BMP-Z.

38

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 39 Of 91 PAGE|D #Z 52

209. However, Dr. Durrani and the Defendants continued to use BMP-2 in offilabel
ways, including but not limited to:

a. Using BMP-?./Infuse in children, despite Medtronic specifically requiring it
be used only in “skeleta]ly mature patients;”

b. Using it outside the LZ-Sl level of the spine;

c. Ignoring the requirement that BMP-Z/Infuse only be used for Grade l
spondylolisthesis or Grade l retrolisthesis;

d. Not requiring at least six months ofnon-operative treatment prior to the use
of BMP-Z/Infuse;

e. Using BMP-Zflni"use without the required cage;

f. Not using the “carrier scaffold” in conjunction with BMP-Z/lnfuse as
required;

g. Using BMP-Z/lnfuse without proper training despite Medtronic‘s warning,
“Caution: Federal (USA) law restricts this device to sale by or on the order
of a physician with appropriate training or experience.”

210. Dr. Durrani was a paid consultant for Medtronic.

211. According to Dr. Durrani’s own deposition testimony in several cases, Medtronic
required one of their representatives to be present in the operating room when its
product BMP-E/Infuse is used.

212. Because Medtronic representatives were present in these surgeries, Medtronic
knew when Dr. Durrani used BMP-Z/Infuse outside the approved uses according to

Medtronic’s own guidelines

39

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 40 Of 91 PAGE|D #Z 53

2}3. Dr. Durrani was encouraged by Medtronic to obtain peer review and published
studies from Medtronic sales representatives to support his use of BMP-Z/lnfuse.

214. Dr. Durrani was encouraged by Medtronic to be an advocate for his patients and
describe how BMP-Z/lnfuse technology can benefit them.

215. When asked how he got his Medtronic grant, Dr. Durrani responded, “You apply
to the Medtronic’s corporate and say this is what we want to do, like everybody else in
the country applies, and then they come and evaluate the thing and say, “Okay, we
think it’s worthy. We’ll give you the grant.”

2l6. ln regard to his role as a Medtronic consultant, Dr. Durrani Stated, “It` there are
certain products that they help us in developing, then they will come to us for a certain
consultant role for a certain product development.”

217. Dr. Durrani also stated, “I was involved in the development of the minimally
invasive spine instrumentation.”

21 S. Dr. Durrani gave conflicting reports on his financial relationship with Medtronic

219. In a deposition, when asked when his relationship with Medtronic began, Dr.
Durrani responded “2000-it’s 2003, ’04. Something in that category. l’m not sure. It’s
on the Medtronic website. You can go look at it.”

220. Medtronic’s website has no information regarding their relationship with Dr.
Durrani.

221. In another deposition, Dr. Durrani stated he began his relationship with Medtronic
in “2005 or ’06."

222. Dr. Durrani also gave conflicting reports on how much compensation he received

from Medtronic for his consultation services

40

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 41 Of 91 PAGE|D #Z 54

223. ln one deposition, Dr. Durrani stated in response to an inquiry as to how much
payment he received, “It’s a standard compensation Again, it’s on the website, how
much they’ve paid us.”

224. Again, this information is not available on the Medtronic website.

225. .ln another deposition, when asked if he received income from Medtronic, Dr.
Durrani replied, “No, I don’t.”

226. When questioned further if he received a fee as a consultant, he stated, “If you do
a work, there is a connactual obligation that they have to pay you. As l told you in my
last deposition, they did declare it on their website, so you can actually go on the
website and see how much they paid.”

2?.'!. ln another deposition, Dr. Durrani stated that he received, “less than 310,000 in ten
years” from Medtronic.

228. An email dated July 30, 2008 horn Medtronic Senior Product Manager Katie
Stamps to Dr. Durrani states that she “is in the process of working on the renewal of
your [Dr. Durrani’s] consulting agreement.“ As stated, this information is not available
on Medtronie’s website, nor is any information relating to Dr. Durrani’s role as a
consultant for Medtronic

229. A CCHMC packet relatinth its Orthopedics department indicated that Dr. Durrani

received $G0,000 in grants, contracts, or industry agreements from Medtronic Sot`amor

Danek in FY 2008.
230- Financial information discovered concerning Dr. Durrani’s relationship with
Medtronic was found in Dr. Durrani’s biography on the website for the Orthopaedic dc

Spine Institute, which Dr. Durrani currently operates in Pakistan. The biography states

41

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 42 Of 91 PAGE|D #Z 55

that “Dr. Atiq Dr. Durrani has also received the Clinical Spine Fellowshjp Grant by the
Department of Orthopaedic Surgery which was funded by Medtronic Sofamor Danek
with a budget of SS9,l7O per year.” See http:f/www.osi.com.uk/doctor/dr-atiq-Dr.
Durrani-md/.

231. When a request was made to Medtronic regarding its affiliation with Dr. Durrani,
the Medtronic Supplier Relations 'l`eam stated that Dr. Durrani’s “name [is] not listed
in our system."

232. Medtronic further responded to the Deters Law Firm’s request that the firm would
need a “Vendor I.D. Number,” which neither Medtronic nor any other party has
provided

233. David Rattigan, was Dr. Durrani’s main Medtronic representative from Bahler
Medical.

234. David Rattigan and Medtronic have the same lawyer. Despite the Deters Law
Firm’s willingness to cooperate in scheduling the date for a deposition, they have
refused until recently. Mr. Rattigan’s deposition was taken June 5, 2015 .

235. In surnrnary, clients of the Deters Law Firm, with the full knowledge and intentional
consent of all Defendants, became unsuspecting experiments for real world testing of
Medtronic hardware and BMP-?., by and through Dr. Durrani and CAST, who had
secret financial connections to Medtronic, improper motives, and submitted false
claims. The government paid for many of these improper and unregulated experiments
as a result of the false claims made by Dr. Durrani, with the knowledge of Medtronic,

under the veil of “medically necessary” surgeries

42

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 43 Of 91 PAGE|D #Z 56

236. Despite repeated requests, Medtronic has refused to cooperate in providing any
requested information and is actively downplaying their connections to Dr. Durrani.
X. THE QEFENDANTS AND BMP-Z
237 . The purpose of the background information on the following Det`endants and BMP-
2 concerning other hospitals is to show the egregious methods, which upon information
and belief were used at all hospitals
238. The Det`endants allowed and encouraged these practices by Dr. Durrani for the sole
purpose of money and greed.
239. David Rattigan was always present in Dr. Durrani’s operating rooms as a
representative of Medtronic
240. David Rattigan’s sole job was to deliver the BMP-Z/lnfuse to the Hospitals and
make sure that it was inserted correctly into the patient
241. David Rattigan’s presence in the OR further supports the Defendants awareness of
Dr. Durrani’s fraudulent use of BMP-Z/Infuse.
242. Informed Consent for Surgical or Medical Procedure and Sedation:
lt is the responsibly cf the attending physician to obtain informed consent prior to
the procedure The patient, or his/her representative will be advised by his/her
physician of:
a. The explanation of the procedure
b. The benefits of the procedure

c. The potential problems that might occur during recuperation

d. The risks and side effects of the procedure which could include but are not
limited to severe blood loss, infection, stroke cr death.

e. The benefits, risks and side effect of alternative procedures including the
consequences of declining this procedure or any alternative procedures

43

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 44 Of 91 PAGE|D #Z 57

f. The likelihood of achieving satisfactory results
Completion of the “Consent to -Hospital and Medical Treatment” form to examine
_ and treat is NOT sufficient as consent to perform a surgical procedure, invasive
procedure, or for medical regimens of substantial risk or that are the subject of
human investigation or research.

243. The Defendants had the responsibility to carry out these consent rules

244. Dr. Durrani oftentimes used BMP-2 “oft`-label” when performing surgeries

245 . BMP-?. is manufactured, marketed, sold and distributed by Defendant Medtronic
under the trade name “lnfuse.”

246. Dr. Durrani is a consultant for Medtronic

247. Defendants did not inform Plaintift`s ofDurrani‘s financial interest, conflicts of
interest or consulting arrangement with Medtronic.

248. Medtronic, provided in writing to Dr. Durrani the approved uses for BMP-Z, the
substance also referred to as lnfuseJ which is a bone morphogenic protein, used as an
artificial substitute for bone gratling in spine surgeries

249. BMP-2 is not approved by the Food and Drug Administration for use in the
cervical and thoracic spine,

250. BMP-.'Z is neither safe nor approved for use on children less than twenty one (21)
years of age.

251. For use in spinal surgery, BMP-Q/Infuse is approved by the FDA for a limited
procedure, performed on a limited area of the spine, using specific components
Specifically, the FDA approved Infuse for one procedure of the spine: Anterior
Lumbar lnterbody Fusion (“ALlF” or "Anten'or" approach); and only in one area of

the spine: L4 to Sl; and only when used in conjunction with FDA-Approved

Components: LT-CAGE Lumbar Tapered Fusion Device Component (“LT-CAGE”)

44

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 45 Of 91 PAGE|D #Z 58

252. Use of Infuse in cervical or thoracic surgery, or use through the back (posterior),
or side (lateral), or on areas of the spine outside of the Lf-i~Sl region (e.g., the cervical
spine), or using components other than or in addition to the LT;CAGE is not
approved by the FDA, and thus such procedures and/or use of non-FDA approved
componentry is termed “off-label.”

253. When used off-label, luque &equently causes excessive or uncontrolled (also
referred to as “ectopic” or “exuberant”) bone growth on or around the spinal cord.
When nerves are compressed by such excessive bone growth, a patient can
experience, among other adverse eventsJ intractable pain, paralysis, spasms, and
cramps in limbs

254. The product packaging for BMP-Z/lnfuse indicates it causes an increased risk of
cancer four (4) times greater than other bone graft alternatives

255. Dr. Durrani and Children’S Hospital personnel did not disclose to Plaintift`s their
intent to use BMP-?./Infuse, and further, did not disclose their intent to use BMP-
2/lnfuse in a way not approved by the FDA.

256. Dr. Durrani used BMP-Z in Plaintiff in a manner not approved by Medtronic or
the FDA_

257. Defendants did not inform Plaintiffs that Dr. Durrani used Inii.lse/BMP~Z in his
surgeries

258. Plaintiffs would not have allowed BMP-2 to be used by Dr. Durrani in his surgery
in a manner that was not approved by the FDA or Medtronic, lnfusefBMP»Z's

manufactures

45

CaSe: 1216-CV-OOZlO-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 page: 46 Of 91 PAGE|D #Z 59

259. Plaintifl`s would not have consented to the use of BMP-2 in Plaintiff’s body if
informed of the risks by Dr. Durrani or any Children’s Hospital personnel

260. The written informed consent ofDr. Durrani signed by Plaintift`s lacked the
disclosure of Infuse/BMP-Z’s use in his procedures

26l. Plaintir`fs never received a verbal disclosure of Infuse/BMP-Z from Dr. Durrani or
any Children’s Hospital personnel

262. Medtronic specifically required Infuse/BMP-?. only be used in "sl<eletally mature
patients" with degenerative disc disease

263. Medtronic required at least six (6) months citron-operative treatment prior to use
of lnfuse/BMP-Z.

264. Dr. Durrani regularly used Infuse/BMP-Z without this six (6) month non-
operative treatment

265. Medtronic required BMP-Z always be used in conjunction with a metal LT cage.

266. Dr. Durrani regularly used BM`P-Z without a proper L'I` cage in his surgeries.

INFUSE/BMP-2

267. Dr. Durrani oftentimes used BMP-Z “off-label” when performing surgeries.

268. BMP~Z is manufactured, marketed, sold and distributed by Def`endant Medtronic
under the trade name “lnf`use.”

269. Dr. Durrani is a consultant for Medtronic

270. Defendants did not inform Plaintiff of Durrani's financial interest, conflicts of

interest or consulting arrangement with Medtronic.

46

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 47 Of 91 PAGE|D #Z 60

271. Medtronic, provided in writing to Dr. Dun‘ani and CAST the approved uses for
BMP-IZ, the substance also referred to as Inf`use, which is a bone morphogenic
protein, used as an artificial substitute for bone grat`ting in spine surgeries.

272. BMP-Z is not approved by the Food and Drug Adrninistration for use in the
cervical and thoracic spine.

273. BMP-E is neither safe nor approved for use on children less than twenty one (21)
years of age.

274. For use in spinal surgery, BMP-Q/Infuse is approved by the FDA for a limited
procedure, performed on a limited area of the spine, using specific components
Specilically, the FDA approved lni`use for one procedure of the spine: Anterior
Lumbar lnterbody Fusion (“ALIF” or "Anterior" approach); and only in one area of
the spine: L4 to Sl; and only when used in conjunction With FDA»Approved
Components: LT-CAGE Lumbar Tapered Fusion Device Component (“LT-CAGE”)

275. Use of Infi.rse in cervical or thoracic surgery, or use through the back (posterior),
or side (lateral), or on areas of the spine outside of the L4~Sl region (e.g., the cervical
Spine), or using components other than or in addition to the LT-CAGE is not
approved by the FDA, and thus such procedures andfor use of non-FDA approved
componentry is termed “off-label.”

276. When used off-label, lnf`uSe Hequently causes excessive or uncontrolled (also
referred to as “ectopic” or “exuberant") bone growth on or around the spinal cord.
When nerves are compressed by such excessive bone growth, a patient can
experience, among other adverse events, intractable pain, paralysis, spasms, and

cramps in limbs.

47

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 48 Oi 91 PAGE|D #Z 61

277. The product packaging for BMP-Z/Infuse indicates it causes an increased risk of
cancer four (4) times greater than other bone graft altematives.

278. Dr. Durrani, CAST staff and employees, and Iourney Lite Hospital personnel did
not disclose _to Plaintiff their intent to use BMP-Z/lnfuse, and firrther, did not disclose _
their intent to use BMP-?./lnfuse in a way not approved by the FDA.

279. Dr. Durrani used BMP-Z in Plaintiff in manners not approved by Medtronic or the
FDA.

280. Defendants did not inform Plaintii"f that Dr. Durrani used lnfusefBMP-Q in his
surgeries

281. Plaintiff would not have allowed BMP-2 to be used by Dr. Durrani in her surgery
in a manner that was not approved by the FDA or Medtronic, lnfuse/BMP-E’s
manufacturer.

282. Plaintiff would not have consented to the use ofBMP-»?. in her body if informed of
the risks by Dr. Durrani, CAST staff and employees, or any Journey Lite Hospital
personnel

283. The written informed consent ofDr. Durrani, CAST, and Journey Lite Hospital
signed by Plaintiff lacked the disclosure of lnf"use/BMP-Z’s use in her procedure

284. Plaintift never received a verbal disclosure of hit`use/BMP-Z from Dr. Durrani,
CAST staff and employees, or any lourney Lite Hospital personnel

285. Medtronic specifically required lnii.ise/BMP-Z only be used in "skeletally mature
patients" with degenerative disc disease

286. Medtronic required at least six (6) months ofnon-operative treatment prior to use

of Infuse/BMP-Z.

48

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 49 Oi 91 PAGE|D #Z 62

287. Dr. Durrani regularly used lnhlse/BMP-Z Without this six (6) month non-
operative treannent.

288. Medtronic required BMP-Z always be used in conjunction with a metal LT cage

289_. Dr. Durrani regularly used BMP-2 without a proper LT cage in his surgeries

PUREGEN

PUREGEN BACKGROUND

290. PureGen Osteoprogenitor Cell Allograii (PureGen) is a highly concentrated, pure

population of Early Lineage Adult (ELA) stem cells that originates in bone marrow and is

collected h'orn live, healthy donors.

291. PureGen is harvested from living human beings under the Stem Cell Collection
Program administered by the Food and Drug Administration (FDA) and is defined as
both a “biologic” by 42 U.S.C. 351(i) and a “drug” as defined by U.S.C. 321(g).

292. PureGen’s purpose was to facilitate bone fusion by mimicking the regenerative
environment of youthful tissues by increasing the concentration of stern cells
available to repair tissue and build bone.

293. When used off-label, as Dr. Durrani often did, biologic bone allografl frequently
causes excessive or uncontrolled (also referred to as “ectopic” or “exuberant”) bone
growth on or around 'the spinal cord.

294. When nerves are compressed by such excessive bone growth, a patient can
experience, among other adverse events, intractable pain, paralysis, spasms, and
cramps in limbs.

295. Alphatec Spine, lnc. is a corporation under the laws of California, and jointly

developed and distributed PureGen in the State of Ohio.

49

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 50 Oi 91 PAGE|D #Z 63

296. Alphatec Holdings, lnc. is a holding corporation formed under the laws of`
Delaware with no operations separate from the holding of other companies which
owns Alphatec Spine, lnc.

29?. Dirk Kuyper was President and CEO ofAlphatec Holdings, Inc. from Februaiy
2007 to August 20]2.

298. Parcell Laboratories, LLC is organized under the laws ofDelaware and jointly
developed Puregen.

299. Alphatec and Parcell co-developed the product “PureGen”, and both expected
PureGen would be initially limited in application

300. PureGen is produced and distributed by Alphatec Spine, LLC, a division of
Alphatec Holdings.

301. PureGen was entered into 3 clinical trials by Alphatcc on or around February 9,
2011 which were scheduled to last until Septernber of 2013.

302. The study population Were 50 male/female subjects 18 years and older suffering
from symptoms of cervical degenerative disc disease in one to four contiguous levels
between C3 and Tl.

303. The clinical trial required:

a. inclusion
i. Age over 50
ii. Side-by~side use of Puregen and Autologous bone in the same
patient for radiographic comparison
iii. Symptomatic lumbar degenerative disc disease in up to 2

contiguous levels between Ll and Sl

50

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 51 Oi 91 PAGE|D #Z 64

iv.

V.

vi.

Subjects with back and/or leg paint indicated for posterior
stabilization with or without decompression at any level and
posteriolatera] fusion

Unresponsive to conservative treatment for at least 6 months

Radiographic evidence of primary diagnosis

b. Exclusion:

vii.

viii.

xi.

xii.

xiii.

xiv.

XV.

xvi.

xvii.

xviii.

No healthy volunteers permitted

More than two levels requiring posteriolateral fusion (PLF)
Spondyliosis greater than Grade 1

Prior failed fusion surgery at lumbar level(s)

Systemic or local infection in the disc or cervical spine, pastor
present

Active systemic disease

Osteoporosis, Osteomalacia, or other metabolic bone disease that
would significantly inhibit bone healing

Use of other bone graft, Bone Morphogenic Protein (BMP), or
bone graft substitutes in addition to or in place ofthose products
specified

BMI greater than 40

Use of post-operative spinal cord stimulator

Known or suspected history of alcohol and/or drug abuse
lnvolved in pending litigation or worker’s compensation related to

the spine

51

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 52 Oi 91 PAGE|D #Z 65

xix. Pregnant or planning to become pregnant during the course of the
study
xx. Insulin-dependent diabetes mellitus
xxi. Life expectancy less than duration of study
xxii. Any significant psychological disturbance that could impair
consent process or ability to complete self-assessment
questionnaires
xxiii. Undergoing chemotherapy or radiation treatrnent, or chronic use of
oral or injected steroids or prolonged use of non-steroidal anti-
inflamrnatory drugs
xxiv_ Known history of`hypersensitivity or anaphylactic reaction to
dimenthyl sulfoxide (DMSO).
304. All 3 clinical trials were “Terminated” before any results were produced
305 . Alphatec and Parcell saw this limited approval for clinical trials as an opportunity
to market PureGen without premarket approval 51 OK clearance, an exception to the
Food Drug and Cosmetic Act, meeting the humanitarian device exception,
investigational new drug (IND) application, or other permission to market PureGen,
all in violation of the Food Drug and Cosmetic Act.
306. Alphatec and Parcell began a course of conduct designed to expand the
application of PureGen by end users in excess of the approved clinical trial of
PureGen. This course of conduct utilized fraud, false statements material

misrepresentation, and deceit in order to broaden the sales ofPureGen beyond that

52

CaSe: 1216-CV-OOZlO-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 53 Of 91 PAGE|D #Z 66

which the usual acceptance within the scientific community or regulatory approval
would otherwise allow.

307. The Food and Drug Administration (FDA) conducted an inspection ofParcell
Laboratories between February 9-14, 2011.

308. Ai°rer the inspection, the FDA responded quickly to the unlicensed marketing of
the device PureGen by wanting that PureGen was not the subject of an IND
application nor a valid biologics license with a letter dated June 23, 2011.

309. The letter stated that the cells used in the production of PureGen were human
cells, tissues, or cellular and tissue-based products (HCT/Ps) as defined in 21 CFR
1271.3(d).

3l0. Based on this analysis, the FDA determined that PureGen was a drug and
biological product as defined in the Federal Food, Drug and Cosmetic Act.

311. According to the Public Health Service Act, a valid biologics license is also
required to introduce a biologics device to the market

312. Alphatec Spine did not acquire a valid biologics license to enter a biologics
product into interstate commerce, in violation of 21 U.S.C. 355(a); 42 U.S.C. 262(a).

313. The FDA stated that PureGen, “does not meet all of the criteria in 21 CFR
1271 .lO(a) and therefore is not regulated solely under section 361 ofthe Public
Health Service Act and the regulations in 21 CFR Part 1271. Speciiically, the product
does not meet the criterion in 21 CFR 1271-10(a)(4)(ii)(b) because the product is
dependent on the metabolic activity of living cells for its primary function."

314. As a result, a valid biologics license Was required, which was never obtained by

Alphatec or Parcell labs in regards to PureGen. Defendants knew all this.

53

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 54 Of 91 PAGE|D #Z 67

315. Given this lack of a valid biologics license, the FDA determined that the
marketing of PureGen violated both the Federa] Food, Drug and Cosmetic Act and
the Public Health Service Act.

316. In a statement to the press approximately a week after receiving the FDA Letter,
Alphatec President Dirk Kuyper statcd, “Both Alphatec Spine and Parcell
Laboratories are hilly committed to work closely and collaboratively With the FDA to
address the questions related to the PureGen Product. We look forward to discussing
the PureGen product with the FDA and sharing our clinical outcomes to date.” See
article “Alphatec comments on FDA’s letter regarding PureGen product for spinal
fusion procedures", Spinal News Intemational, July 28, 2011, attached as Exhibit E.

317. No such cooperation by Alphatec and Parcell labs occurred and no clinical
outcomes were shared with the FDA as all clinical trials of PureGen were
“Temiinated” and no data was released as to the lindings.

318. In fact, Alphatec and Parce]l responded to this letter by continuing to market
PureGen in an unlicensed manner until Alphatec finally acknowledged the letter in or
around February 2013, almost two years after receiving the letter, by stating it
disagrees with the FDA’s classification ofPurcGen as anything other than a tissue
product - despite the clinical trial approval listing PureGen as “Biological: PureGen
Osteoprogenitor Cell Allograft“.

319. Furthermore, according to sales representative, Thomas Blank, Alphatec falsely
informed distributors of PureGen that they “resolved” the issues addressed in the
FDA letter, did not have to take PureGen off the market and it was “ok“ for their

distributors to continue marketing and selling PureGen.

54

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 55 Of 91 PAGE|D #Z 68

320. Despite the approval for the clinical trial of PureGen which limited enrollment to
50 patients, Alphatec advertised in its 2012 Annual Report that PureGen had been
implanted in over 3,500 patients

321 . _ PureGen further stated that it had been placed in these 3,500 patients with “no
adverse events related to the product”, despite no study, statistics or information to
back up such a claim.

322. This 2012 annual report also identified PureGen as a biologic.

323. ln the First Quarter of2011, Alphatec Spine attributed part of its 40.9% increase
in revenue to the PureGen productl See Becker’s Spine Review, Alphatec Spine
Reports $49.7M in Ql Revenue, 40.9% increase, May 5, 2011, attached as exhibit H.

324. Eventually, after PureGen had been unlawfully implanted in thousands of
patients, Alphatec and Parcell conceded that PureGen is a tissue product and a
biologic and stopped shipping PureGen in February of 201 3.

PUREGEN AND OHIO LA`W

325 . lt is the position of the Deters Law Firm that the distribution and use ofPureGen
by Dr. Durrani, Evolution Medical, Alphatec Spine, Inc., and upon lnformation and
Beliefloru'ney Lite is in violation not only of Federal Law as outlined in the FDA’s
letter, but Ohio State Law as well.

326. Olrio Revised Code 3715.65(A) states that “No person shall sell, deliver, offer for
sale, hold for sale, or give away any new drug unless an application with respect to
the drug has become effective under section 505 of the Federal Food, Drug and
Cosmetic Act, 52 Stat. 1040 (1938), 21 U.S.C.A. 301”. Defendants violated this

provision

55

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 56 Of 91 PAGE|D #Z 69

327. A “New Drug” is defined as “Any drug the composition of which is not generally
recognized among experts by scientific training and experience to evaluate the safety
of drugs, as safe for use under the conditions prescribed, recomrnended, or suggested
in the labeling thereof.” Ohio Revised Code 3715.01(9)(21).

328. PureGen’s status as a Biologic further supports the classiiication of a drug under
the FDA and Ohio Law: “A “biological product" means a virus, therapeutic serum,
toxin, antitoxin, vaccine, blood, blood component or derivative, allergenic product, or
analogous product, or arsphenarnine or derivative of arsphenamine (or any other
trivalent organic arsenic compound), applicable to the prevention, treatment, or cure
of a disease or condition of human beings (Public Health Service Act Sec. 351(i)).
Additional interpretation of the statutory language is found in 21 CFR 600.3.
Biological products also meet the definition of either a drug or device under Sections
M(g) and (h) of the Federal Food, Drug, and Cosmetic Act (FD&C Act).” See
http://www.fda.gov/ICECl/lnspections/IOM/ucrn122535.htrn.

329. lt is the position of the Deters Law Firm that PureGen is a drug as defined in ORC
3715.01 and that its distribution before FDA approval was in violation of ORC
3715.65(A). The Defendants with full knowledge and intent violated this statute.

PUREGEN AT THE HOSPITALS

330. Upon information and believe it is believed that Dr. Durrani used Puregen at

Journey Lite in the same manner that PureGen was used at WCH.
331. Upon information and believe it is believed that Dr. Durrani was taking Puregen

from WCH and using it at Joumey Lite.

56

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 57 Of 91 PAGE|D #Z 70

332. Plaintiff’ s have repeatedly requested itemized billing to confirm its use but have
not received from Det`endants.

333. On October 10, 2011, UC Health began purchasing PureGen from Alphatec.
Thomas Blank was an employee of lnnovative Medical Consultants, LLC and a sales
rcpres_entative, seller, marketer, and distributer of PureGen for the Northern
Kentucky/Cincinnati area.

334. In his professional capacity, Thomas Blank was present during most, if not all, of
the surgeries at issue where PureGen was secretly implanted into various Plaintiffs
Without informed consent or permission

335. Thomas Blank worked directly with Alphatec Spine, lnc. and Defendants in the
marketing and distribution of PureGen.

336. Additionally, Thomas Blank is a shareholder in Alphatec SpineJ lnc.

337. On May 10, 2012 Evolution Medical, LLC, a physician owned distributorship
(POD), owned in part (at least 40%) by Dr. Durrani and incorporated in Delaware,
received a Kentucky Certiiicate of Authority.

33 8. Around this time, Thomas Blank began to work with Evolution Medical in the
marketing and distribution of PureGen, in addition to his dealing with Alphatec
Spine, lnc.

339. On July 20, 2012, UC Health with the hill knowledge and consent ofDefendants
began purchasing PureGen from Evolution Medical, LLC.

340. The purchase of PureGen, the logistics of the billing, the bills of lading, the
receiving and handling of PureGen for West Chester Hospital was handled by UC

Health Purchasing.

57

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 58 Of 91 PAGE|D #Z 71

341. The Defendants tracked West ChesterfUC Health‘s purchases of PureGen from
Evolution medical

342. SpeciticallyJ Thomas Blank Would provide the materials from Alphatec related to
the use and approval ofPureGen to Dwayne Brown on behalf ofUC Health, who
would request PureGen based on the amounts requested by Dr. Durrani and other
doctors who used the product

343. After the UC Health reps approved the use of PureGen, Thomas Blank and his
associate Toby Wilcox would order the product, typically in bulk, and draft the
requisite billing documents

344. The PureGen ordered would be stored on site at WCH in the freezer of the
operating rooms.

345. ln addition to Dr. Durrani, other doctors at WCH used PureGen, including Dr.
Chunduri, Dr. Curt and Dr. Shanti.

346. Defendants would purchase and allow these doctors to use a substance not
approved by the FDA in patients without their informed consent

347. Though WCH and UC Health do have patients till out “inforrned consent” forms,
no mention of PureGen or its non-FDA approved status is mentioned on these forms.

DR. DURRANI AN]) PUREGEN

348. ln one of the few depositions taken of Dr. Durrani before his flight from the
country he stated that PureGen is “essentially stern cells” and that he “used to use
[PureGen] for a certain amount of tiine." Deposition of Dr. Durrani in Brenda Slrell v.

Durraui, p. 25-26, attacth as EXhibit N.

58

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 59 Of 91 PAGE|D #Z 72

349. This “certain amount of time” was approximately 3 years between 2010 and 2013,
all while PureGen remained unapproved by the FDA.

350. Though downplaying his involvement with PureGen, Dr. Durrani, through his
illegal POD Evolution Medical, distributed PureGen to West ChesterfUC Health with
the full knowledge and consent of Defendants

351. Dr. Durrani and his Evolution Medical co-owner Toby Wilcox and Defendants,
knew the Department of Health and l-Iuman Services and the United States Senate
Finance Committee has released reports on dangers of Physician-owned entities,
notably Physician-owned Distributorships (POD’s).

352. Dr. Durrani and Toby Wilcox's actions through Evolution Medical violated the
Anti-Kickback Statute 42 U.S.C. 1320 and Stark Law 42 U.S.C. 1395.

353. Compliance with the Anti-Kickback Statutes is a condition of receiving payment
from a Federally-funded healthcare program, and most private insurers have a parallel
conditional requirement

354. The Anti-Kickback Statute prohibits the payment and receipt of kickbacks in
retum for either procuring or recommending the procurement of a good, facility, or
item to be paid in whole or in part by a federal healthcare program. 42 U.S.C. l320a-
7b(b).

355. ln violation of 45 C.F.R. 46, and in furtherance of the scheme to feign avoidance
of the ami-kickback statutes1 Dr. DurraniJ CAST, Alphatec and the Defendants
experimented on patients by using PureGen in unapproved manners, without the
informed consent of the patients, and subsequently billing their health insurance

companies all while concealing the true nature of their actions.

59

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 60 Of 91 PAGE|D #Z 73

356. Dr. Durrani also had connections with Alphatec as his personal calendar indicates
meetings with Dirk KuyperJ President and CEO of .Alphatec in 2008.

357. Dr. Durrani experimentally used Puregen bone graft in twenty cervical surgeries,
along with as many as 72 thoracic, cervical, and lumbar surgeries, ignoring the
limited uses it was approved for in the clinical trials.

358. Dr. Durrani, through his POD Evolution Medical, was essentially “double
dipping” in his dealings with PureGen

359. Dr. Durrani would sell WCH and the other hospitals the PureGen through
Evolution Medical and then use and bill for the PureGen in his surgeries.

360. Dr. Durrani and Defendants knew such an arrangement was either unethical and
illegal (tlrough still not disclosing the use of PureGen) by having the patients sign an
Acknowledgement of Potential Conflict of Interest form.

361. WCH and Defendant also benefited from this arrangement by up charging
patients for the PureGen after purchasing it from Evolution Medical and Dr. Durrani.

362. At all times rclevant, Dr. Durrani and Defendants was iri exclusive control of the
amount and ratio of Puregen bone graft that was experimentally implanted into
patients

363. PureGen was and remains unapproved by the FDA for use in humans without an
lnvestigation New Drug ("IND") or experimental informed consent of the patient

364. Dr. Durrani and Defendants did not receive experimental informed consent from

patients, nor did he verify that an IND was obtained

60

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 61 Of 91 PAGE|D #Z 74

365. The basic “lnformed Consent Forms” Dr. Durrani and CAST did have patients iill
out made no mention ofPureGen or the fact a non-FDA approved product was being
implanted in their body.

366. _ln fact, Dr. Durrani and Defendants would even conceal the use ofPureGen by
intentionally withholding it from the billing records, noting on one Pre-Op Code sheet
“Do Not Bill” twice in regards to PureGen.

367. lmplanting Puregen in any part of the spinal canal without FDA clearance, proper
uials, and patient consent is reckless battery and violates the Hippocratic Oath’s
statement “I will prescribe regimens for the good of my patients according to my
ability and my judgment and never do harm to anyone.” lt is criminal

PUREGEN AND OUR CLIENTS

368. What follows are just a few examples of the damage caused Dr. Durrani and the
Defendants deceptive and fraudulent use of PureGen in Deters Law Oflice clients
without their consent

369. A majority of these surgeries occurred A.FTER the FDA inspection and
subsequent warning on the non-FDA approved status of PureGen.

370. Following the cervical surgeries in which Puregen was implanted, the patients’
pain became far worse and more extreme

371. The patients attest to difficulty with swallowing unthickened liquid, medications
in pill fonn, routine saliva1 and food.

372. Many patients describe a choking sensation felt on a daily basis when swallowing

and changes to the tone and audibility of their voice, along with a chronic cough.

61

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 62 Of 91 PAGE|D #Z 75

373. Following the thoracic and lumbar surgeries, patients attest to increased spinal
pain, difficulty with ambulation, numbness and tingling in lower extremities,
decreased flexibility

374. Below are some of the clients experiences since having the Pu_regen implanted:

375. “I have severe low back pain, stiffness, decreased range of motion and tendemess.
Pain radiating to left posterior thigh and right/left lumbar area. Onset months ago
after surgery.” - William Hayes

376. “Constant, irritating pain, less intense but still present Even after two surgeries, l
continue to have limited use of my left leg. The pain is ever-present I am easily
fatigued and have severe pain after brief tasks such as cooking dinner, preaching a
sennon, even making a bed. Bending over is so painful and produces such instability
that my family helps put on my socks and shoes. l require a cane for arnbulation, due
to left leg weakness and limited range ofmotion." _ Darrell Earls

377. “Severe spin in my neck, arm, shoulder blades Pressure on my throat making it
unbearable to swallow meds and food. Loss of range of motion in my neck and
stiffness in back. The pain is so severe that l can no longer sleep laying down. I have
to sleep sitting up. The pain in my neck is unbearable most days. The pain runs
between my shoulder blades into my chest and in my throat and side of my neck.” -
Duane Pelfrey

378. “I feel l have lost a lot of the flexibility in my neck and back. l have lower back
pajn, tightness in neck and shoulders, and have a hard time lifting/standing for long
periods of time. W'hen l bend over, I have a hard time straightening back up to an

upright position.” - Dana Conley

62

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 63 Of 91 PAGE|D #Z 76

379. “Low back pain radiating into bilateral hips, buttocks, legs and feet. Bilateral leg
weakness Numbness in left foot and toes. Bilateral buttock and posterior thigh
muscle spasms. Buming sensation in right abdomen that radiates around to back. My
post~surgery MRI and CT scan showed bony overgrowth into the foremen and into
the canal on left at LS-Sl.” - lulie Martin

380. “l experience pounding headaches that are far worse than anything prior to
surgery. Left leg is numb, painful and swollen, muscle spasms occurring in hip and
bilateral legs since surgeries with Dr. Durrani. My whole back, neck and leg hurt so
bad I could throw up.“ - Tonia McQueary

381. “I have much more pain. Constant right-sided headache, intensity varies but
always 'present. The back of my neck swells. My esophagus feels like it is in a
different place. My throat swells.” - Kelly Hennessey

382. As stated, there are just a few examples of clients that have been discovered to
have had non-FDA approved PureGen implanted into their bodies without their
informed consent, in violation of both Federal and State Law, all with the knowledge
of Defendants

383. Dr. Durrani ohentimes used Puregen when performing surgeries.

384. Puregen is a product produced by Alphatec Spine.

385 . Dr. Durrani was and is a paid consultant for Alphatec Spine.

386. Dr. Durrani has an ownership stake in the Alphatec Spine.

387. Puregen has never been approved by the FDA for any human use.

388. Puregen is now removed from the market for any use.

63

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 64 Of 91 PAGE|D #Z 77

397.

389. Dr. Durrani used the product Puregen as bone graft substitute similar to
lnfuse[BMP~Z during spinal surgeries.

390. Dr. Durrani, CAST staff and employees, Riverview Health lnstitute
personnel, and Journey Lite personnel did not disclose their intent to use
Puregen, nor did they inform Plaintiff that it was a product that was not
approved by the FDA for human use.

391 . Dr. Durrani used Puregen in Plaintiff in manners not approved by the
FDA.

392. Plaintiff were not informed by Dr. Durrani, CAST staff and employees,
Riverview Health lnstitute personnel, or any Journey Lite personnel that Dr.
Durrani used Puregen in Tracy’ s surgeries

393. Plajntiff would not have allowed Puregen to be used by Dr. Durrani in
Tracy’s surgeries in a manner that was not approved by the FDA.

394. Plaintiff would not have consented to the use of Puregen in Tracy’s body
if informed of the risks by Dr. Durrani, CAST staffJ and employees, R.iverview
Health Institute personnel, or any Journey Lite personnel.

395. The written informed consent of Dr. Durrani and CAST signed by Tracy
Esselrnan lacked the disclosure of Puregen’s use in her procedures

396. Plaintiff never received a verbal disclosure of Puregen from Dr. Durrani,
CAST staff, and employees, Riverview Health Institute personnel, or any
J carney Lite personnel

M

Dr. Durrani oftentimes used Puregen when performing surgeries

64

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 65 Of 91 PAGE|D #Z 78

398. Puregen is a product produced by Alphatec Spine.

399. Dr. Durrani Was and is a paid consultant for Alphatec Spine.

400. Dr. Durrani has an ownership stake in the Alphatec Spine.

401. Puregen has never been approved by the FDA for any human use.

402. Puregen is now removed from the market for any use.

403. Dr. Durrani used the product Puregen as bone graft substitute similar to
lnfuse/BMP-?. during spinal surgeries.

404. Dr. Durrani, CAST staff and employees, and Joumey Lite Hospital personnel did
not disclose their intent to use Puregen, nor did they inform Plaintiff that it Was a
product that was not approved by the FDA for human use.

405. Dr. Durrani used Puregen in Plaintiff in manners not approved by the FDA.

406. Plaintiff was not informed by Dr. Durrani, CAST staff and employees, or any
Joumey Lite Hospital personnel that Dr. Durrani used Puregen in Plaintiff’s surgeries

407. Plaintiff would not have allowed Puregen to be used by Dr. Durrani in her
surgeries in a manner that was not approved by the FDA.

408. Plaintiff would not have consented to the use of Puregen in her body if informed
of the risks by Dr. Durrani, CAST staff and employees, or any West Chester/UC
Health personnel.

409. The written informed consent ofDr. Durrani and CAST signed by Plaintiff lacked
the disclosure of Puregen’s use in her procedures

410. Plaintiff never received a verbal disclosure of Puregen from Dr. Durrani, CAST

staff and employees, or any West ChesterfUC Health Personnel.

65

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 66 Of 91 PAGE|D #Z 79

DR. DURRANI COUNTS:
COUNT I: NEGLIGENCE

411. Defendant Dr. Durrani owed his patient Plaintiff, the duty to exercise the degree
of skill, careJ and diligence an ordinarily prudent health care provider would have
exercised under like or similar circumstances

412. Defendant Dr. Durrani breached his duty by failing to exercise the requisite
degree of skill, care and diligence that an ordinarily prudent health care provider
would have exercised under same or similar circumstances through, among other
things, negligent diagnosis medical mismanagement and mistreatment of Plaintiff,
including but not limited to improper selection for surgery, improper performance of
the surgeries, and improper follow-up care addressing a patient’s concerns

413. As a direct and proximate result of the aforementioned negligence and deviation
from the standard of care on the part of the Defendant Dr. Durrani, Plaintiff sustained
all damages requested in the prayer for relief

COUNT II: BATTERY

414. Dr. Durrani committed battery against Plaintiff by performing surgery that was
unnecessary, contraindicated for Plaintiff’s medical condition, and for which he did
not properly obtain informed consent, inter alia, by using lnfuse/BMP~Z, PureGen
and/or Baxano in ways and for surgeries not approved by the FDA and medical
community, and by the failure to provide this information to Plaintiff.

415. Plaintiff would not have agreed to the surgery if she knew the surgery was

unnecessary, not approved by the FDA, and not indicated

66

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 67 Of 91 PAGE|D #Z 80

416. As a direct and proximate result of the aforementioned battery by Dr. Durrani,

Plaintiff sustained all damages requested in the prayer for relief
COUNT IlI: LACK OF INFORl\/lED CONSENT

41?. The informed consent forms from Dr. Durrani and CAST, which they required
Plaintiff to sign, failed to fully cover all the information necessary and required for
the procedures and surgical procedures performed by Dr. Durrani. Dr. Durrani and
CAST each required an informed consent release

418. ln addition, no one verbally informed Plaintiff of the information and risks
required for informed consent at the time of or before the Plaintiff’s surgery.

419. Dr. Durrani failed to inform Plaintiff of material risks and dangers inherent or
potentially involved with her surgery and procedures

420. Plaintiff subsequently developed severe and grievous injuries as a direct and
proximate result of lack of informed consent

421. Had Plaintiff been appropriately informed of the need or lack of need for surgery

and other procedures and the risks of the procedures, Plaintiff would not have

undergone the surgery or procedures
l COUNT IV: INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
422. Dr. Durrani’s conduct as described above was intentional and reckless
423. lt is outrageous and offends against the generally accepted standards ofmorality.
424. lt was the proximate and actual cause of Plaintiff’s psychological injuries,
emotional injuries, mental anguish, suffering, and distress
425. Plaintiff suffered severe distress and anguish so serious and of a nature that no

reasonable man or woman would be expected to endure.

67

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 68 Of 91 PAGE|D #Z 81

COUNT V: FRAUD

426. Dr. Durrani made material, false representations to Plar`ntiff and her insurance
company related to Plaintift"s treatment including: stating the surgery was necessary,
that Dr. Durrani “could fix” Plaintiff, that more conservative treatment was
unnecessary and futile, that the surgery would be simple or was “no big deal", that
Plaintiff would be walking normally within days after each surgery, that the
procedures were medically necessary and accurately reported on the billing to the
insurance companyJ that the surgeries were successful, and that Plaintiff was
medically stable and ready to be discharged

427. Dr. Durrani also concealed the potential use of lnfusefBMP-Z and/cr Puregen in
Plaintift`s surgeries when he had a duty to disclose to Plajntiff his planned use of the
same.

428. These misrepresentations and/or concealments were material to Plaintiff because
they directly induced the Plaintiff to undergo her surgery.

429. Dr. Durrani knew or should have known such representations were false, and/or
made the misrepresentations with utter disregard and recklessness as to their truth that
knowledge of their falsity may be inferred

430. Dr. Durrani made the misrepresentations before, during, and after the surgery,
with the intent of misleading Plaintiff and her insurance company into relying upon
them. Specifically, the misrepresentations were made to induce payment by the
insurance company, without which Dr. Durrani would not have performed the
surgeries, and to induce Plaintiffto undergo the surgery without regard to medical

necessity and only for the purpose of receiving payment

68

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 69 Of 91 PAGE|D #Z 82

431. The misrepresentations and/or concealments were made during the Plaintiff’s
Of_fice Visits at Dr. Durrani’S CAST offices andjor at West Chester HospitalfUC
Health.

432. Plaintiff was justified in his reliance on the misrepresentations because a patient
has a right to trust their doctor and that the facility is overseeing the doctor to ensure
the patients of that doctor can trust the facility.

433. As a direct and proximate result of the aforementioned haud, Plaintiff did
undergo surgery, which was paid for in whole or in part by her insurance company,
and suffered all damages requested in the prayer for relief.

COUNT VI: SPOLIATION OF EVIDENCE

434. Dr. Durrani willfully altered, destroyed, delayed, hid, modihed and/or spoiled
(“spoiled”) P]aintiff's records, billing records, emails, paperwork and related
evidence

435. Dr. Durrani spoiled evidence with knowledge that there was pending or probable
litigation involving Plaintiff.

436. Dr. Durrani’s conduct was designed to disrupt PlaintifPs potential and/or actual
case, and did in fact and proximately cause disruption, damages and harm to Plaintiff.

CAST COUNTS:
COUNT I: VlCARlOUS LIABILITY

437. At all times relevant, Defendant Dr. Durrani was an agent, and!or employee of
CAST.

433. Dr. Durrani is in fact, the owner of CAST.

69

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 70 Of 91 PAGE|D #Z 83

439. Defendant Dr. Durrani was performing within the scope of his employment with
CAST during the care and treatment of Plaintiff.

440. Defendant CAST is responsible for harm caused by acts of its employees for
conduct that was within the scope of employment under the theory of respondeat
superior.

441. Defendant CAST is vicariously liable for the acts of Defendant Dr. Durrani
alleged in this Complaint including all of the counts asserted against Dr. Durrani
directly

442. As a direct and proximate result of Defendant CAST’s acts and omissions1
Plaintiff sustained all damages requested in the prayer for relief.

COUNT II: NEGLIGENT HIRING, RETENTION & SUPERVISION

443. CAST provided Dr. Durrani, inter alia, financial support, control, medical
facilities, billing and insurance payment support, staff support, medicines, and
tangible items for use on patients

444. CAST and Dr. Durrani participated in experiments using lnfuse/BMP-2 and/or
Puregen bone graft on patients, including Plaintiff, without obtaining proper informed
consent thereby causing harm to Plaintiff.

445. CAST breached its duty to Plaintiff, inter alia, by not supervising or controlling
the actions of Dr. Durrani and the doctors, nurses, staffJ and those with privileges,
during the medical treatment ofPlaintiff at CAST.

446. The Safe Medical Device Act required entities such as CAST to report serious
injuries, serious illnesses, and deaths related to failed medical devices to the FDA and

the manufacturer; this was never done.

70

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 71 Of 91 PAGE|D #Z 84

447. Such disregard for and violations of federal law represents strong evidence that
CAST negligently hired, retained and supervised Dr. Durrani.

448. As a direct and proximate result ofthe acts and omissions herein described,
including but not limited to failure to properly supervise medical treatment by Dr.
Durrani, Plaintiff sustained all damages requested in the prayer for relief.

COUNT III: FRAUD

449. CAST sent out billing to Plaintiff at her horne following her surgeries at lourney
Lite Hospital.

450. The exact dates these medical bills were sent out are reflected in those medical
bills.

451. These bills constituted afhrmative representations by CAST that the charges
related to Plaintiff’s surgeries were medically appropriate and properly documented

452. The bills were sent with the knowledge of CAST that in fact Plaintiff’ s surgeries
were not appropriately billed and documented and that the services rendered at
Journey Lite Hospital associated with Dr. Durrani were not appropriate

453. ' The bills sent by CAST to Plaintift` falsely represented that Plaintifl’ s surgeries
were appropriately indicated, performed and medically necessary in contra-indication
of the standard of care.

454. Plaintiff relied on the facility holding Dr. Durrani out as a surgeon and allowing
him-to perform surgeries at its health care facility as assurance the facility was
overseeing Dr. Durrani, vouching for his surgical abilities, and further was

appropriately billing Plaintiff for CAST’s services in association with Dr. Durrani’s

surgery.

71

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 72 Of 91 PAGE|D #Z 85

455. As a direct and proximate result of this reliance on the billing of CAST, Plaintiff
incurred medical bills that she otherwise would not have incurred

456. CAST also either concealed from Plaintiff that they knew about Dr. Durrani,
including that Infuse/BMP-Z and/or Puregen would be used in Plaintiff`s surgeries, or
misrepresented to Plaintiff the nature of the surgeries, and the particular risks that
were involved therein.

457. CAST’s concealments and misrepresentations regarding lnfusefBl\/[P-Q and/or
Puregen and the nature and risks of Plaintift" s surgeries were material facts

458. Because of its superior position and professional role as a medical service
provider, CAST had a duty to disclose these material facts to Plaintiff and a duty to
rehain horn misrepresenting such material facts to Plaintiff.

459. CAST intentionally concealed and/or misrepresented said material facts with the
intent to defraud Plaintiff in order to induce Plaintiff to undergo the surgeries, and
thereby profited from the surgeries and procedures Dr. Durrani performed on Plaintiff
at Journey Lite Hospital.

460. Plaintiffwas unaware that BMP-2 and/or Puregen would be used in Plaintiff's
surgeries and therefore, was unaware of the health risks of lnfuse/BMP-.’Z and/or
Puregen’s use in Plaintiff’s spine.

461. I-lad Plaintiff known before Plaintiff’ s surgeries that lnfuse/BMP-Z and/or
Puregen would be used in Plaintiff’s spine and informed of the speciiic, harmful risks
flowing therefrom, Plaintiff would not have undergone the surgery with Dr. Durrani

at J carney Lite Hospital.

72

CaSe: 1216-CV-OOZlO-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 73 Of 91 PAGE|D #Z 86

462. As a direct and proximate result of the fraud against plaintiff by CAST, Plaintiff
sustained all damages requested in the prayer for relief
COUNT IV: OHIO CONSUMER SALES PROTECTION ACT
463. Although the Ohio Consumer Sales Protection statutes O.R.C 1345.01 et seq.

exempts physicians, a transaction between a hospital and a patient/consumer is not

clearly exempted

464. CAST’s services rendered to Plaintiff constitute a “consurner transaction” as
defined in ORC Section 1345.0](A).

465. CAST omitted suppressed and concealed from Plaintiff facts with the intent that
Plaintiff rely on these omissions, suppressions and concealrnents as set forth herein.

466. CAST’s misrepresentations, and its omissions, suppressions and concealments of
fact, as described above, constituted unfair, deceptive and unconscionable acts and

practices in violation of O.R.C 1345.02 and 1345.03 and to Substantive Rules and

case law.

467. CAST was fully aware of its actions

468. CAST was fully aware that Plaintiff was induced by and relied upon CAST’s
representations at the time CAST was engaged by Plaintiff.

469. Had Plaintiff been aware that CAST’s representations as set forth above were
untrue, Plaintiff would not have used the services of Defendants

470. CAST, through its agency and employees knowingly committed the unfajr,
deceptive and/or unconscionable acts and practices described above.

471. CAST’s actions were not the result of any bona fide errors.

73

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 74 Of 91 PAGE|D #Z 87

472. As a result of CAST’s unfair, deceptive and unconscionable acts and practices,
P]aintiff has suffered and continues to suffer damages, which include, but are not

limited to the following:

a. Loss of money paid
b. Severe aggravation and inconveniences
c. Under O.R.C. 1345.01 Plaintiff is entitled to:

i. An order requiring CAST restore to Plaintiff all money received
from Plaintift` plus three times actual damages and/or
actual/statutory damages for each violation;

ii. All incidental and consequential damages incurred by Plaintiff;

iii. All reasonable attorneys‘ feesJ witness fees, court costs and other
fees incurred;

iv. Such other and hirther relief that this Court deems just and

appropri ate.

COUNT V: SPOLIATION OF EVIDENCE

473. CAST, through its agents and employees, willfully altered, destroyed, delayed,
hid, modified and/or spoiled (“spoiled“} Plaintiff’s records, billing records, emails,
paperwork and related evidence

474. CAST, through its agents and employees, spoiled evidence with knowledge that
there was pending or probable litigation involving P|aintiff.

475. CAST’s conduct was designed to disrupt Plaintist potential and/or actual case,
and did in fact and proximately cause disruption, damages and harm to Plaintift`.

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74-

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 75 Of 91 PAGE|D #Z 88

JOURNEY LITE. LLC COUNTS:
COUNT I: NEGLIGENCE
476. loumey Lite owed their patient, Plaintift`, through its agents and employees the
duty to exercise the degree of skill, care, and diligence an ordinarily prudent health
care provider would have exercised under like or similar circumstances
477. Journey Lite acting through its agents and employees breached their duty by
failing top exercise the requisite degree of skill, care and diligence that an ordinarily
prudent health care provider would have exercised under sarno or similar
circumstances through, among other things, negligent diagnosis, medical
mismanagement and mistreatment of Plaintift`, including but not limited to improper
selection for surgeries, improper performance of the surgery, improper assistance
during Plaintiff’s surgeries and improper follow up care addressing a patient’s
concerns
478. The agents and employees Who deviated from the standard of care include nurses,
physician assistants, residents and other hospital personnel who participated in
Plaintiff‘ s surgeries
479. The management, employees, nurses, technicians, agents and all staff during the
scope of their employment and/or agency of Journey Lite’s knowledge and approval,
either knew or should have known the surgeries were not medically necessary based
upon Dr. Durrani’s known practices; the pre-op radiology; the pre-op evaluation and
assessment; and the violation of their responsibility under the bylaws, rules,

regulations and policies of Journey Lite.

430. As a direct and proximate result of the aforementioned negligence and deviation

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CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 76 Of 91 PAGE|D #Z 89

from the standard of care by the agents and employees of Joumey Lite, Plaintiff
sustained all damages requested in the prayer for relief.
COUNT II: NEGLIGENT CREDENTlALING, SUPERVISION, & RETENTION

481. As described in the Counts asserted directly against Dr. Durrani, the actions of Dr.
Durrani with respect to Plaintiff constitute medical negligence, lack of informed
consent, battery, and fraud.

482. l ourney Lite negligently credentialed, supervised, and retained Dr. Durrani as a
credentialed physician by:

a. Violating their JCAHO rules by allowing Dr. Durrani to repeatedly violate
the Joumey Lite bylaws with its full knowledge of the sa.rne;

b. Failing to adequately review, look into, and otherwise investigate Dr.
Durrani’s educational background, work history and peer reviews when he
applied and reapplied for privileges at Jour'ney Lite;

c. Igrroring complaints about Dr. Durrani’s treatment of patients reported to it
by Journey Lite staff, doctors, Dr. Durrani’s patients and by others;

d. lgnoring information they knew or should have known pertaining to Dr.
Durrani’s previous privileged time at other Cincinnati area hospitalsl
including Children’s Hospital, University Hospital, Deaconess Hospital,
Good Samaritan Hospital and Christ Hospital.

483. The Safe Medical Device Act required entities such as Journey Lite to report
serious injuries, serious illnesses, and deaths related to failed medical devices to the

FDA and the manufacturer; this was never done.

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CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 77 Of 91 PAGE|D #Z 90

484. As a direct and proximate result of the negligent credentialing, supervision, and
retention of Dr. Durrani, Plaintiffs sustained all damages requested in the prayer for
relief

COUNT III: FRAUD

485. Ohio Administ:rative Code 3701-83~07(A)(5) states, “Each patient shall receive, if
requested, a detailed explanation of facility charges including an itemized bill for
services rendered

486. The bills sent to Plaintiff, after multiple requests, were in violation Ohio
Administrative Code 3701~83-07(A)(5).

487. Upon information and belief, P]aintiff believes that Dr. Durrani implanted BMP-
2/or Puregen into Plaintiff. (see exhibit A)

488. Even after Plaintiff’s Counsel and the Ohio Attomey General requested itemized
billing, Joumey Lite still did not provide an itemized breakdown of the charges;
instead Joumey Lite continued to provide “Account Ledgers,” which contained
barebones “lnsurance Billing” and “lnsurance Payments."

489. Due to Joumey Lite’s downright refusal to comply with Plaintiff‘s request for
itemized billing, Plaintiff has been forced to file a class action suit against Joumey
Lite’s for their egregious billing practices

490. The bills sent by Joumey Lite to Plaintift` falsely represented that Plaintiff’s
surgeries were appropriately indicated, performed, and medically necessary in contra~
indication of the standard of care.

491. Upon information and belief, Plaintiff believes the bills requested by Plaintiff will

indicate that l oumey Lite Hospital falsely represented that Plaintift`s surgery ives
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CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 78 Of 91 PAGE|D #Z 91

appropriately indicated, performed, and medically necessary in contra-indication of
the standard of care.

492. The bills were sent to Plaintiff’s insurance company with the knowledge of
Joumey Lite that in fact Plaintift’s surgeries were not appropriately billed and `
documented and that the services rendered at Joumey Lite associated with Dr.
Durrani were not appropriate

493. Plaintiffs relied on the facility holding Dr. Durrani out as a surgeon and allowing
him to perform surgeries at its health care facility as assurance the facility was
overseeing Dr. Durrani, vouching for his surgical abilities, and further was
appropriately billing Plaintiffs for Joumey Lite’s services in association with Dr.
Durrani’s surgeries

494. As a direct and proximate result of this reliance on the billing of Joumey Lite,
Plaintii`f incurred medical bills that She otherwise would not have incurred

495. l carney Lite also either concealed from Plaintiff that they knew about Dr.
Durrani, including that Inftise/Bly{P-Z and/or Puregen would be used in Plaintifi’ s
surgeries, or misrepresented to Plaintiff the nature of the surgeries and the particular
risks that were involved therein

496. Joumey Lite’s concealments and misrepresentations regarding lnB.lse/BM§P~Z
and/or Puregen and the nature and risks of Plaintiff’s surgeries were material facts.

497. The use of BMPQ increases a person’s chance of cancer by 3.5%.

498. Due to the unnecessary surgeries Dr. Durrani performed, P,aintiff has a 3.5%
increased chance of cancer because of the use ofBMP-R.

499. As a direct and proximate result of the use and implementation of Infuse/BMP-Z

78 \

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 79 Of 91 PAGE|D #Z 92

Plaintiff has incurred a 3.5% increase in the risk of Cancer. As a result Plaintif"f has an
increased fear of cancer.

500. Because of its superior position and professional role as a medical service
provider, Joumey Lite had-a duty to disclose these material facts to Plaintift`s anda
duty to refrain from misrepresenting such material facts to Plaintiffs.

SOl. l carney Lite intentionally concealed andfor misrepresented said material facts
with the intent to defraud Plaintiff in order to induce Plaintiff to undergo the
surgeries, and thereby profited from the surgeries and procedures Dr. Dinrani
performed on Plaintiff at Joumey Lite.

502. Plaintiff was unaware that lnfuse/BMP-Z and/or Puregen would be used in
Plaintifi"s surgeries and therefore, was unaware of the health risks of lnfusefBMP-Z
or Puregen’s use in Plaintiff’s spine.

503. Had Plaintiff known before Plaintit`f’s surgery that Puregen would be used in
Plaintiff’s spine and informed of the specific, harmful risks flowing there from,
Plaintiff would not have undergone the surgeries with Dr. Durrani at Journey Lite.

504. Plaintiff is still awaiting billing from Joumey Lite Hospital reflecting the exact
totals charged for the use of BMP~?. on Plaintiff.

505. As a direct and proximate result of the fraud upon Plaintift`s by Joumey Lite,
Plaintiff sustained all damages requested in the prayer for relief

COUNT IV: OHIO CONSUMER SALES PROTECTION ACT

506. Although the Ohio Consumer Sales Protection statutes O.R.C 1345.01 et seq.

exempts physicians, a transaction between a hospital and a patient/consumer is not

clearly exempted

79

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 80 Of 91 PAGE|D #Z 93

507. Joumey Lite’s services rendered to Plaintiff constitute a “consurner transaction”
as defined in ORC Section 1345.01(A).

508. Joumey Lite omitted suppressed and concealed from Plaintiffs facts with the
intent that Plaintiffs rely on these omissions, suppressions and concealments as set
forth herein.

509. Joumey Lite’s misrepresentations, and its omissions, suppressions and
concealments of fact, as described above, constituted unfair, deceptive and
unconscionable acts and practices in violation of O.R.C 1345.02 and 1345.03 audio
Substantive Rules and case law_

5l0. Joumey Lite was fully aware of its actions_

511, Joumey Lite was fully aware that Plaintiffs were induced by and relied upon
Joumey Lite’s representations at the time Joumey Lite was engaged by Plaintiffs.

512. Had Plaintiffs been aware that Joumey Lite’s representations as set forth above
were untrue, Plaintiffs would not have used the services OfDefendants.

513. Joumey Lite, through its agency and employees knowingly committed the unfair,
deceptive and/or unconscionable acts and practices described above.

514. Joumey Lite’s actions were not the result of any bona iide errors.

515. As a result of Joumey Lite’s unfair, deceptive and unconscionable acts and
practices, Plaintiffs have suffered and continues to suffer damages, which include, but

are not limited to the following.'

d. Loss of money paid
e. Severe aggravation and inconveniences

f. Under O.R.C. 1345.0] Plaintiff is entitled to:

80

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 81 Of 91 PAGE|D #Z 94

i. An order requiring Joumey Lite restore to Plaintiffs all money
received h'om Plaintiffs plus three times actual damages and!or
actual/statutory damages for each violation;

ii. All incidental and consequential damages incurred by Plaintiffs;

iii. All reasonable attomeys‘ fees, witness fees, court costs and other
fees incurred;

iv. Such other and hirther relief that this Court deems just and

appropriate

COUNT V: PRODUCTS LlABILlTY
516. At all times Infuse/BMP-2 and Puregen are and were products as defined in R.C.
§ 2307.71(A)(12) and applicable law.
51 7. Joumey Lite (aka supplier) supplied either Medtronic’s (aka manufacturer)
lnfuse/BMP-Z for surgery performed by Dr. Durrani on Plaintiff.
518. Joumey Lite, as a supplier, failed to maintain Infuse/'BMP-ZZ properly

519. Joumey Lite did not adequately supply all components required to use either

Infuse/BMP»Z properly.
520. Joumey Lite knew or should have known the FDA requirements and Medtronic's
requirements for using either Infuse/BMP-.'Z.
521. Joumey Lite stored either lnfuse/BMP-Z at its facility.
522. Joumey Lite ordered either lnfusefBMP-Z for surgery performed by Durrani.
523. Joumey Lite did not adequately warn Plaintiff that lnfuse/BMP-Z would'be used

without all FDA and manufacturer required components

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CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 82 Of 91 PAGE|D #Z 95

524. Joumey Lite did not gain informed consent from Plaintiff for the use of
lnfuse/BMP-Z, let alone warn of the supplying of the product without FDA and
manufacturer requirements

525. Joumey Lite failed to supply either lnfuse/BMP-Z (aka product) in the manner in
which it was represented

526. Joumey Lite failed to provide any warning or instruction in regard to
lnt`l.lse/`Bl\/iP-.?J and failed to make sure any other party gave such warning or
instruction

527. Plaintiffs suffered physical, fmancial, and emotional harm due to Joumey Lite’s
violation of the Ohio Products Liability act. Plaintiff’s injuries were a foreseeable risk

528. Plaintiff did not alter, modify or change the product, nor did Plaintiff know that
the product was being implanted without all required components

529. Joumey Lite knew or should have known that the product was extremely
dangerous and should have exercised care to provide a warning that the product was
being used and that the product was being used outside FDA and manufacturer
requirements The harm caused to Plaintiff by not providing an adequate warning was
foreseeable

530. Joumey Lite knew that the product did not conform to the representation of the
intended use by the manufacturer yet permitted the product to be implanted into
Plaintiff,

531. Joumey Lite, as a supplier, acted in an unconscionable manner in failing to supply

the product without all FDA and manufacturer required components

82

CaSe: 1216-CV-OOZlO-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 83 Of 91 PAGE|D #Z 96

532. Joumey Lite, as a supplierJ acted in an unconscionable manner in failing to warn
Plaintifi`s that the product was being supplied without all FDA and manufacturer
required components

533. Joumey Lite 's actions demonstrate they took advantage of the Plaintiffs inability,
due to ignorance of the product, to understand the product being implanted without
FDA and manufacturer required components

534. Joumey Lite substantially benefited financially by the use of the product as the
product allowed for Defendant to Charge more for the surgery

535. Plaintiffs suffered economic loss as defined in R.C. § 2303.71(A)(2) and
applicable law,

536. Plaintiffs suffered mental and physical harm due to Joumey Lite’s acts and
omissions

537. Plaintift`s suffered emotional distress due to acts and omissions of Joumey Lite
and are entitled to recovery as defined in R.C, § 2307.7] (A)(7) and applicable law.

53 8. Joumey Lite violated the Ohio Products Liability Act R.C. § 2307.71-2307.80

539. Joumey Lite violated R.C. § 2307_71(A)(6).

540. Joumey Lite violated The Ohio Consumer Sales Practices Act R.C. § 1345.02-.03.

541. Joumey Lite provided inadequate warnings are defined in R.C, § 2307.76(A) and
applicable law.

COUNT VI: SPOLIATION OF EVIDENCE

542. Joumey Lite through its agents and employees willfully altered, destroyed,

delayed, hid, modified and/or spoiled (“spoiled”) Plaintiff’s records, billing records,

emails, paperwork and related evidence

83

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 84 Of 91 PAGE|D #Z 97

543.

Joumey Lite through its agents and employees spoiled evidence with knowledge
that there was pending or probable litigation involving Plaintiff.

Joumey Lite’s conduct was designed to disrupt Plaintiff’s potential and/or actual case,
and did in fact and proximately cause disruption, damages and harm to Plaintiff`.
PRAYER FOR RELIEF

WHEREFORE, Plaintiff requests and seeks justice in the form and procedure of

a jury, verdict and judgment against Defendants on all claims for the following damages

l. Past medical bills;

'.Z. Future medical bills;

3. Lost income and benefits;

4. Lost future income and benefits;

5. Loss of ability to earn income;

6. Past pain and suffering;

7. Future pain and suffering;

8. Plaintiff seeks a finding that her injuries are catastrophic under Ohio Rev. Code
§2315.18;

9. All damages permitted under Ohio Products Liability Act R.C. § 2307¢71-2307.80

and all other applicable law;

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14.

A]l incidental costs and expenses incurred as a result of her injuries;
The damages to their credit as a result ofher injuries;

Punitive damages;

Costs',

Attorneys’ fees;

34

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 85 Of 91 PAGE|D #Z 98

15 . lnterest;

16. A]l property loss;

l'l'. All other relief to which she is entitled including O.R.C. 1345.01

Based upon l-l7 itemization of damages the damages sought exceed the minimum

jurisdictional amount of this Court and Plaintiff seeks in excess of $25,000.

Respectii.tlly Submitted,

   

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Lindsay L. Boese (0091307)
Attorneysfor Plaintz`jj"
5247 Madison Pike
Independence, KY 41051
Phone: 513-729-1999
Fax: 513-381-4084
mhammer@ericdeters.com

JURY ])EMAND
Plaintiffs make a demand for a jury under all clal

  
     

1(433)
Lindsay L. Boese (0091307)

 

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CaSe2 1216-CV-00210-SSB-KLL DOC #2 1-3 Filed2 01/06/16 Page2 87 Of 91 PAGE|D #2 100

lN THE COURT OF COMMON PLEAS
HAMILTON COUNTY, OHIO

CIVIL D[VISION
CHARIANN SHEPHERD
Case No.
Plaintiff, : lodge
v. : MOTION FOR EXTENSION OF TIME

T 0 FILE AFFII)AVIT OF MERIT

ABUBA_KAR ATIQ DURRA.NI, M.D., et al :

Defendants

 

Comes now Plaintir`f, through Counsel, and files this Motion for an Extension of Time for

90 days to file an Affidavit ofMerit in Support of Plaintiff’s medical negligence claim.

Notably, Plajntiff’s claims related to Billiug Fraud, Battery, Spoliation ovaidence, and

Intentional lnflictiorl of Ernotional Distress do not require an atfidavit of merit

Furthermore, this case was iiled, inter alia, to preserve all applicable statutes of
limitation Therefore, the Plaintiff respectfully requests a brief opportunity to acquire all relevant
medical records, billing, and radiology imaging tiles, and have Plaintift’s retained expert medical

consultants review the records

Based on the other substantially similar claims against Dr. Durraui, Pla'mtifl`s’ nurse
consultant review, and the preliminary medical documents, the case is unquestionany supported

by Ohio law.

CaSe2 1216-CV-00210-SSB-KLL DOC #2 1-3 Filed2 01/06/16 Page2 88 Of 91 PAGE|D #2 101

THEREFORE, Plaintiffrespectli.llly requests a ninety (90) day extension to file their
affidavit of merit; an opportunity to be heard if the relief is not granted; and Court oversight in
the medical records production, Which have not been timely produced by Defendants, if

necessary

Respectfully submitted,

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tl'_hew J. Harnmer (0092483
lindsay L. Boese (00913 07)
Attomeys for Plaintiff

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859-363-1900 Fax: 859-363-1444

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 89 Of 91 PAGE|D #Z 102

 

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CASENO. A1504455
VS WRlTTEN REQUEST FOR SERVICE
TYPE OF PAPERS TO BE SERVED ARE
Abubakar Atiq Durrani. M-D-. et al- Comp!aint and Motl'on for Extension of Time for AOM

 

 

(a} PLEASE CHECK IF THIS lS A
DOMESTIC CASE

 

PLAlNTl[-`FH)EFENDANT REQUESTS: EXPRESS MAlL SERVICE
CERTIF|ED MAlL SERVICE x REGULAR MAll.. SERVICE
PERSONAL SERVICE RESIDENCE SERV|CE
PROCESS SERV[CE FORE-IGN SHERIFF

 

N Joumey Lite of Cincinnati, LLC, Serve: CT Corporation System
1300 East Ninth Street, C|eve|and1 OH 44114
Bartatric Partners Of Texas, |nc., Serve: CT Corporation 150 Fayettevil|e St.
Box 1011 Ra|eigh, NC 27601
Bariatric Partners of Texas, LLC, Serve: MYA RA, LLC 150 Fayettevi||e St.
Box 1011 Ra|eigh, NC 27601 l
ASC|RA Partners, LLC, Serve: John VV_ Titus 1600 Division St., Suite 700

 

 

 

 

 

 

Nashvi|ie, TN 37203-2271

 

 

 

Matthew J . Hammer 859-363-1900
ATTORNEY PHONE NUMBER
5247 Madison Pike cndependence, KY 41051 92483

 

 

ADDRESS ATTORNEY NUMBER

CaSe: 1216-CV-00210-SSB-KLL DOC #Z 1-3 Filed: 01/06/16 Page: 90 Of 91 PAGE|D #Z 103

CO_URT OF COMMON PLEAS
HAMILTON COUNTY, OHIO

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-vs_ cAss NUMBER:

Joumey Lite of Cincinnati, LLC
Defendant

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AUTHORITIES WITH AN ENDORSEMENT OF “REFUSED” OR “UNCLAIMED” AND IF THE
CERTIFICATE OF MAILING CAN BE DEEMED COMPLETE NOT LESS THAN FIVE (5) DAYS
BEFORE ANV SCHEDULED HEARING, THE UNDERSIGNED WAlVES NOT|CE OF THE
FAILURE OF SERV|CE BY THE CLERK AND REQUESTS ORDINARY MAIL SERVICE IN
ACCORDANCE WITH ClVlL RULE 4.6 (C_) OR (D) AND ClVIL RULE 4.6 (E).

Matthew J. Hammer
ATTORNEY OF RECORD ` `(TYPE OR PRINT)

\s\|\/|atthew Hammer

DATE ATTORNEY’S SIGNATURE

 

CaSe: 1216-CV-00210-SSB-KLL DOC #.1-3 Filed: 01/06/16 Page: 91 Of 91 PAGE|D #Z 104

 

 

 

 

 

 

 

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\\% \ COMMON PLEAS COURT
§ .ILTON COUNTY, OHIO
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Char|ann Sh_eglle?t’@
CASE NO.
VS WRITTEN REQUEST FOR SERVICE
TYPE OF PAPERS TO BE SERVED ARE
Abubakar Atiq Durrani. M-D-, et al- Complaint and Motion for Extension of Time for AOM
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DOMESTIC CASE
PLAlNTIFF/DEFENDANT REQUESTS: EXPRESS MAlL SERVlCE.
CERTIFIED MA|L SERVICE x REGULAR MA[L SERVICE
PERSONAL SERVICE RESIDENCE SERVICE
PROCESS SERVICE FORElGN SHERIFF

 

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Jeffrey A. Bog|e 4009 Hillsboro Pike, Suite 209 Nashvi||e, TN 37215
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ADDRESS AT'I`ORNEY NUMBER

